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               Exhibit A
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               Exhibit A: List of Works Infringed by Peloton by Publisher 1
           Song Title                     Artist              Publisher Plaintiff      PA Number
    A LOVE SONG                 AMANDA BLANK                    DOWNTOWN              PAu003509586
    AIN’T WORTH THE             COLE SWINDELL                   DOWNTOWN              PA0001911891
    WHISKEY
    ALL I WANNA DO              SHERYL CROW                     DOWNTOWN              PA000066414,
                                                                                      PA0000669884
    ALL MIXED UP                311                             DOWNTOWN              PA0000776562
    AMBER                       311                             DOWNTOWN              PA0001100362
    AMERICAN HONEY              LADY ANTEBELLUM                 DOWNTOWN              PA0001734053
    ANIMAL                      NEON TREES                      DOWNTOWN              PAu003532360
    ANIMALS                     MAROON 5                        DOWNTOWN              PA0001947800
    BABY DON’T LIE              GWEN STEFANI                    DOWNTOWN              PA0001996733
    BAD (FEAT. VASSY) -         DAVID GUETTA,                   DOWNTOWN              PA0001936649
    LISTENIN’                   VASSY
    CONTINUOUS MIX
    BATTLEFIELD                 JORDIN SPARKS                   DOWNTOWN              PA0001651018
    BE MY BABY                  ARIANA GRANDE,                  DOWNTOWN              PA0001945986
                                CASHMERE CAT
    BEAUTIFUL DISASTER          311                             DOWNTOWN              PA0000867931
    BET AIN’T WORTH THE         LEON BRIDGES                    DOWNTOWN              PA0002146975
    HAND
    BLACK & BLUE                MIIKE SNOW                      DOWNTOWN              PA0001761396
    BLACK WIDOW                 IGGY AZALEA, RITA               DOWNTOWN              PA0001925126
                                ORA
    BLEEDING LOVE               LEONA LEWIS                     DOWNTOWN              PA0001613694
    BLOW                        KESHA                           DOWNTOWN              PA0001715888
    BONFIRE HEART               JAMES BLUNT                     DOWNTOWN              PA0001901129
    BOONDOCKS                   LITTLE BIG TOWN                 DOWNTOWN              PA0001296327
    BRIGHTER THAN THE           COLBIE CAILLAT                  DOWNTOWN              PA0001773539
    SUN
    BROTHER (FEAT.              NEEDTOBREATHE,                  DOWNTOWN              PA0001916248
    GAVIN DEGRAW)               GAVIN DEGRAW
    BURN                        ELLIE GOULDING                  DOWNTOWN              PA0001901116
    CALIFORNIA GURLS            SNOOP DOGG, KATY                DOWNTOWN              PA000171165,
                                PERRY                                                 PA0001396981
    CALLING (LOSE MY            SEBASTIAN                       DOWNTOWN              PA0001832167
    MIND) - EXTENDED            INGROSSO, ALESSO,
    CLUB MIX                    RYAN TEDDER
    CAN WE HANG ON ?            COLD WAR KIDS                   DOWNTOWN              PA0002122143
    CANDYMAN                    ZEDD, ALOE BLACC                DOWNTOWN              PA0002056131


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    The references to each publisher reflect the abbreviations as set forth in the Complaint.


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        Song Title             Artist         Publisher Plaintiff    PA Number
CARLENE                 PHIL VASSAR             DOWNTOWN            PA0001010848
CARNIVAL                NATALIE MERCHANT        DOWNTOWN            PA0000758810
CHAMPAGNE               311                     DOWNTOWN            PA0001100363
CHANGE THE WORLD        ERIC CLAPTON, MICK      DOWNTOWN            PA0000813175
                        GUZAUSKI
CIRCUS                  BRITNEY SPEARS          DOWNTOWN            PA0001622999
COLD HEARTED            PAULA ABDUL             DOWNTOWN            PA0000422660
COLLIDE - RADIO EDIT    AVICII, LEONA LEWIS     DOWNTOWN            PA0001753315
COME ORIGINAL           311                     DOWNTOWN            PA0000985803
COMMANDER               DAVID GUETTA,           DOWNTOWN            PA0001750325
                        KELLY ROWLAND
CONNECTION              ONEREPUBLIC             DOWNTOWN            PA0002150233
CONTROL MYSELF          JENNIFER LOPEZ, LL      DOWNTOWN            PA0001164353
                        COOL J
CRASH AND BURN          THOMAS RHETT            DOWNTOWN            PA0002046580
CREATOR (VS. SWITCH     SANTIGOLD               DOWNTOWN            PAu003509569
AND FREQ NASTY)
DIAMONDS                RIHANNA                 DOWNTOWN            PA0001833874
DIE YOUNG               KESHA                   DOWNTOWN            PA0001850818
DIRT ON MY BOOTS        JON PARDI               DOWNTOWN            PA0002021844
DISPARATE YOUTH         SANTIGOLD               DOWNTOWN            PA0001806958
DO IT WELL              JENNIFER LOPEZ          DOWNTOWN            PA0001591026
DO IT WELL (FEAT.       LUDACRIS, JENNIFER      DOWNTOWN            PA0001591036
LUDACRIS)               LOPEZ
DON’T                   ED SHEERAN              DOWNTOWN            PA0001947748
DON’T STAY              X AMBASSADORS           DOWNTOWN            PA0002150236
DON’T WAIT              MAPEI                   DOWNTOWN            PA0001901910
DON’T WAKE ME UP        CHRIS BROWN             DOWNTOWN            PA0001806232
DR. FEELGOOD            MOTLEY CRUE             DOWNTOWN            PA0000440229
DRUNK LIKE YOU          THE CADILLAC            DOWNTOWN            PA0002055698
                        THREE
DYNAMITE - RADIO        TAIO CRUZ               DOWNTOWN            PA000139695,
EDIT                                                                PA0001720607
EVERYBODY TALKS         NEON TREES              DOWNTOWN            PA0001811165
FAME - 2016             DAVID BOWIE             DOWNTOWN            RE0000876952
REMASTERED VERSION
FAST CARS AND           RASCAL FLATTS           DOWNTOWN            PA0001268341
FREEDOM
FEEL AGAIN              ONEREPUBLIC             DOWNTOWN            PA0001879190
FIRE AND THE FLOOD      VANCE JOY               DOWNTOWN            PA0002056663
FIREWORK                KATY PERRY              DOWNTOWN            PA000172473,
                                                                    PA0001716006
FIRST                   COLD WAR KIDS           DOWNTOWN            PA0002045704


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      Song Title               Artist        Publisher Plaintiff    PA Number
FOOLISH GAMES           JEWEL                  DOWNTOWN            PA0001822634
FOR HER                 CHRIS LANE             DOWNTOWN            PA0002007792
GHOST                   ELLA HENDERSON         DOWNTOWN            PA0001985273
GIRLS, GIRLS, GIRLS     MOTLEY CRUE            DOWNTOWN            PA0000342182
GOD FROM THE            SANTIGOLD              DOWNTOWN            PA0001806960
MACHINE
GOD, YOUR MAMA,         FLORIDA GEORGIA        DOWNTOWN            PA0002048212
AND ME                  LINE, BACKSTREET
                        BOYS
GOOD GOOD               FLORIDA GEORGIA        DOWNTOWN            PA0001997595
                        LINE
GOOD LIFE               ONEREPUBLIC            DOWNTOWN            PA0001794364
GOODBYE SAYS IT ALL     BLACKHAWK              DOWNTOWN            PAu001822857
GREEN ONIONS            BOOKER T. & THE        DOWNTOWN            RE0000478073
                        M.G.’S
GRENADE                 BRUNO MARS             DOWNTOWN            PA0001742742
GROOVE IS IN THE        DEEE-LITE              DOWNTOWN            PA0000532721
HEART
HANG ME UP TO DRY       COLD WAR KIDS          DOWNTOWN            PA0001803024
HAPPENS LIKE THAT       GRANGER SMITH          DOWNTOWN            PA0002079927
HAPPIER - ACOUSTIC      ED SHEERAN             DOWNTOWN            PA0002150280
HAPPY XMAS (WAR IS      CéLINE DION            DOWNTOWN            RE0000795735
OVER)
HEART OF A LION (KID    KID CUDI               DOWNTOWN            PA0001832168
CUDI THEME MUSIC)
HELL OF A NIGHT         DUSTIN LYNCH           DOWNTOWN            PA000196203,
                                                                   PA0001932282
HOME SWEET HOME         MOTLEY CRUE            DOWNTOWN            PA0000275135
I LIKE THE SOUND OF     RASCAL FLATTS          DOWNTOWN            PA0001961456
THAT
I LIVED                 ONEREPUBLIC            DOWNTOWN            PA0001879191
I LOST IT               KENNY CHESNEY          DOWNTOWN            PA0001040677
I MELT                  RASCAL FLATTS          DOWNTOWN            PA0001143200
IF I KNEW               BRUNO MARS             DOWNTOWN            PA0001852273
IF I LOSE MYSELF        ONEREPUBLIC            DOWNTOWN            PA0001879192
IF IT FEELS GOOD        LEON BRIDGES           DOWNTOWN            PA0002146976
(THEN IT MUST BE)
IF THE BOOT FITS        GRANGER SMITH          DOWNTOWN            PA0002054814
I’M NOT THE ONLY        SAM SMITH              DOWNTOWN            PA0001906178
ONE
IN THE NEXT ROOM        NEON TREES             DOWNTOWN            PAu003532360
IT DON’T HURT LIKE IT   BILLY CURRINGTON       DOWNTOWN            PA0002070178
USED TO



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      Song Title             Artist         Publisher Plaintiff    PA Number
L.E.S. ARTISTES       SANTIGOLD               DOWNTOWN            PA0001807033
LATCH                 SAM SMITH,              DOWNTOWN            PA0001916095
                      DISCLOSURE
LIFE IS SWEET         NATALIE MERCHANT        DOWNTOWN            PA0000910728
LIFT ME UP            ONEREPUBLIC             DOWNTOWN            PA0002150233
LIGHTS COME ON        JASON ALDEAN            DOWNTOWN            PA0002027846
LIKE A G6             THE CATARACS, DEV,      DOWNTOWN            PA0002004168
                      FAR EAST
                      MOVEMENT
LIVE MY LIFE          JUSTIN BIEBER, FAR      DOWNTOWN            PA0001778927
                      EAST MOVEMENT
LOCKED OUT OF         BRUNO MARS              DOWNTOWN            PA0001869823
HEAVEN
LOOKS THAT KILL       MOTLEY CRUE             DOWNTOWN            PA0000193924
LOSING SLEEP          JOHN NEWMAN             DOWNTOWN            PA0001942622
LOST AT SEA           ZEDD, RYAN TEDDER       DOWNTOWN            PA0001832085
LOVE IS MYSTICAL      COLD WAR KIDS           DOWNTOWN            PA0002122132
LOVE RUNS OUT         ONEREPUBLIC             DOWNTOWN            PA0001989315
LUCKY STRIKE          MAROON 5                DOWNTOWN            PA0001824575
MAGNETS               LORDE, DISCLOSURE       DOWNTOWN            PA0002009086
MAKE IT TO ME         SAM SMITH               DOWNTOWN            PA0001969621
ME AND MY BROKEN      RIXTON                  DOWNTOWN            PA0001959686
HEART
MINE IS YOURS         COLD WAR KIDS           DOWNTOWN            PA0001795537
MIRACLE MILE          COLD WAR KIDS           DOWNTOWN            PA0001837257
MOST GIRLS            HAILEE STEINFELD        DOWNTOWN            PA0002149911
MOST PEOPLE ARE       LUKE BRYAN              DOWNTOWN            PA0002149192
GOOD
MOVE ON               CLARE DUNN              DOWNTOWN            PA0002016490
MULTIPLIED            NEEDTOBREATHE           DOWNTOWN            PA0001916248
NEON LIGHTS           DEMI LOVATO             DOWNTOWN            PA0001858698
NO SLEEP              WIZ KHALIFA             DOWNTOWN            PA0001774920
NO VACANCY            ONEREPUBLIC             DOWNTOWN            PA0002150070
NOTHIN’ TO DO BUT     ADAM SANDERS            DOWNTOWN            PA0001961057
DRINK
OCTAHATE              RYN WEAVER              DOWNTOWN            PA0001940359
ODE TO BOY            YAZ                     DOWNTOWN            PA0000161169
OMEN - RADIO EDIT     SAM SMITH,              DOWNTOWN            PA0002009078
                      DISCLOSURE
ONE DAY (FEAT. RYAN   LOGIC, RYAN TEDDER      DOWNTOWN            PA0002150229
TEDDER)




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      Song Title             Artist         Publisher Plaintiff    PA Number
ONE LOVE (FEAT.       ESTELLE, DAVID          DOWNTOWN            PA0001734127
ESTELLE) - FEAT.      GUETTA
ESTELLE
ONE OF THOSE NIGHTS   THE WEEKND, JUICY J     DOWNTOWN            PA0001842425
PARTICULAR TASTE      SHAWN MENDES            DOWNTOWN            PA0002140839
PAYPHONE              MAROON 5, WIZ           DOWNTOWN            PA0001824573
                      KHALIFA
PICKING UP THE        PALOMA FAITH            DOWNTOWN            PA0001852765
PIECES
PUSH (FEAT. ANDREW    ANDREW WYATT, A-        DOWNTOWN            PAu003737844
WYATT)                TRAK
RAY BAN VISION        CYHI DA PRYNCE, A-      DOWNTOWN            PA0001855127
                      TRAK
RENDEZVOUS GIRL       SANTIGOLD               DOWNTOWN            PA0002019155
RENEGADES OF FUNK     RAGE AGAINST THE        DOWNTOWN            PA0000226276
                      MACHINE
RISE AGAIN            NEEDTOBREATHE           DOWNTOWN            PA0001916248
ROAD LESS TRAVELED    LAUREN ALAINA           DOWNTOWN            PA0002070073
ROCKETEER             RYAN TEDDER, FAR        DOWNTOWN            PA0001739222
                      EAST MOVEMENT,
                      RUFF LOADERZ
RUMOUR HAS IT         ADELE                   DOWNTOWN            PA0001734865
RUNAWAY               BON JOVI                DOWNTOWN            PA0000221239
SAY AHA               SANTIGOLD               DOWNTOWN            PA0001807033
SCARS                 ALESSO, RYAN            DOWNTOWN            PA0002048051
                      TEDDER
SEXY BITCH (FEAT.     DAVID GUETTA,           DOWNTOWN            PA0001703244
AKON)                 AKON
SHALLOW               LADY GAGA,              DOWNTOWN            PA0002149916
                      BRADLEY COOPER
SHE DOESN’T MIND      SEAN PAUL               DOWNTOWN            PA0001840399
SHOUT AT THE DEVIL    MOTLEY CRUE             DOWNTOWN            PA0000193923
SITUATION             YAZ                     DOWNTOWN            PA0000787268
SMOOTH LIKE THE       THOMAS RHETT            DOWNTOWN            PA0002138912
SUMMER
SO GOOD               B.O.B                   DOWNTOWN            PA0001816818
SO TIED UP            COLD WAR KIDS,          DOWNTOWN            PA0002122121
                      BISHOP BRIGGS
SOMEBODY ELSE WILL    JUSTIN MOORE            DOWNTOWN            PA0002057083
SOMETHING I NEED      ONEREPUBLIC             DOWNTOWN            PA0001879193
SOUND OF CHANGE       DIRTY HEADS             DOWNTOWN            PA0001914352
STOP AND STARE        ONEREPUBLIC             DOWNTOWN            PA0001708414
STRAIGHT UP           PAULA ABDUL             DOWNTOWN            PA0000422659



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      Song Title               Artist        Publisher Plaintiff    PA Number
STRONG ENOUGH           SHERYL CROW            DOWNTOWN            PA000066987,
                                                                   PA0000664136
STYLO (FEAT. MOS DEF    GORILLAZ, MOS DEF,     DOWNTOWN            PAu003580587
AND BOBBY WOMACK)       BOBBY WOMACK
SUN DAZE                FLORIDA GEORGIA        DOWNTOWN            PA0001997579
                        LINE
SUPER FAR               LANY                   DOWNTOWN            PA0002151032
TEENAGE DREAM           KATY PERRY             DOWNTOWN            PA000171165,
                                                                   PA0001396977
THE CHAMPION            CARRIE                 DOWNTOWN            PA0002144118
                        UNDERWOOD,
                        LUDACRIS
THIRD ROCK FROM         JOE DIFFIE             DOWNTOWN            PA0000709061
THE SUN
THIS IS WHY I’M HOT     MIMS                   DOWNTOWN            PA0001597373
TOP OF THE WORLD        BIG SEAN, MIKE         DOWNTOWN            PA0001968092
                        POSNER
TOUGH LOVE              JESSIE WARE            DOWNTOWN            PA0001960767
TROUBLEMAKER            OLLY MURS, FLO         DOWNTOWN            PA0001848285
(FEAT. FLO RIDA)        RIDA
TURN AROUND (FEAT.      MIKKEL S. ERIKSEN,     DOWNTOWN            PA0001840397
NE-YO)                  CONOR MAYNARD,
                        BENNY BLANCO, TOR
                        ERIK HERMANSEN,
                        NE-YO
TWILIGHT SPEEDBALL      MOS DEF                DOWNTOWN            PAu003509541
WAKING UP               ONEREPUBLIC            DOWNTOWN            PA0001794365
WANDERLUST              THE WEEKND             DOWNTOWN            PA0001885261
WE R WHO WE R           KESHA                  DOWNTOWN            PA0001715885
WHEN I WAS YOUR         BRUNO MARS             DOWNTOWN            PA0001834773
MAN
WHERE THEM GIRLS        NICKI MINAJ, DAVID     DOWNTOWN            PA0001741154
AT (FEAT. NICKI MINAJ   GUETTA, FLO RIDA
& FLO RIDA)
WILD SIDE               MOTLEY CRUE            DOWNTOWN            PA0000332232
WOMAN, AMEN             DIERKS BENTLEY         DOWNTOWN            PA0002149935
WORK HARD, PLAY         WIZ KHALIFA            DOWNTOWN            PA0001833760
HARD
WORKING CLASS HERO      GREEN DAY              DOWNTOWN            RE0000846434
WORRY ‘BOUT             KEITH URBAN            DOWNTOWN            PA0002022274
NOTHIN’
WRAPPED UP              TRAVIE MCCOY,          DOWNTOWN            PA0001982804
                        OLLY MURS




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      Song Title              Artist         Publisher Plaintiff    PA Number
YOU CAN DO IT        MACK 10, MS. TOI, ICE     DOWNTOWN            PA0001010605
                     CUBE, MS TOI
YOU WERE MEANT FOR JEWEL                       DOWNTOWN            PA0000776446
ME
YOU’LL FIND A WAY    SANTIGOLD                 DOWNTOWN            PAu003509613
2 MAN SHOW           TIMBALAND, ELTON             OLE              PA0001591430
                     JOHN
2112: OVERTURE / THE RUSH                           OLE            EU738315
TEMPLES OF SYRINX /
DISCOVERY /
PRESENTATION /
ORACLE / SOLILOQUY /
GRAND FINALE -
MEDLEY
4 MINUTES (FEAT.     TIMBALAND, JUSTIN              OLE            PA0001693511
JUSTIN TIMBERLAKE & TIMBERLAKE,
TIMBALAND)           MADONNA
A CHANGE WOULD DO SHERYL CROW                       OLE            PA000088650,
YOU GOOD                                                           PA0000852627
A LITTLE MORE        JASON ALDEAN                   OLE            PA0002071739
SUMMERTIME
ALL ABOUT TONIGHT    PIXIE LOTT                     OLE            PA0001935642
ALL MY FRIENDS SAY   LUKE BRYAN                     OLE            PA0001588828
ANONYMOUS - MAIN     TIMBALAND, BOBBY               OLE            PA0001334239
                     V.
AYO TECHNOLOGY       TIMBALAND, JUSTIN              OLE            PA0001645303
                     TIMBERLAKE, 50
                     CENT
BACKWOODS            JUSTIN MOORE                   OLE            PA0001835907
BLACK VELVET         ALANNAH MYLES                  OLE            PA0000429717
BOARDMEETING         TIMBALAND, MAGOO               OLE            PA0001761903
BORN TO RIDE         BLACKJACK BILLY                OLE            PA0001921939
CAN’T HOLD US DOWN CHRISTINA                        OLE            PA000110482,
(FEAT. LIL’ KIM)     AGUILERA, LIL’ KIM                            PA0001143432
CARRY OUT (FEAT.     TIMBALAND, JUSTIN              OLE            PA000178001,
JUSTIN TIMBERLAKE)   TIMBERLAKE                                    PA0001935810
CLOSER TO THE HEART RUSH                            OLE            EU849485
COME AROUND -        TIMBALAND, M.I.A.              OLE            PA000159670,
ALBUM VERSION                                                      PA0001640239
(EDITED)
CRAZY GIRL           ELI YOUNG BAND                 OLE            PA0002002584
CRAZY TOWN           JASON ALDEAN                   OLE            PA0001644247
CRUISE               FLORIDA GEORGIA                OLE            PA000180362,
                     LINE                                          PA000191375,
                                                                   PA0002026775


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      Song Title              Artist        Publisher Plaintiff    PA Number
DAVID ASHLEY           TRAVIS DENNING              OLE            PA0002154285
PARKER FROM
POWDER SPRINGS
DREAMLINE -            RUSH                        OLE            PA000539471
REMASTERED
DRINK YOU AWAY         JUSTIN TIMBERLAKE           OLE            PA0001985056
ELEVATOR (FEAT.        TIMBALAND, FLO              OLE            PA0001647059
TIMBALAND)             RIDA
EQUALIZER              K-OS                        OLE            PA0002089472
EVERYDAY IS A          SHERYL CROW                 OLE            PA0000852628
WINDING ROAD
FIX A DRINK            CHRIS JANSON                OLE            PA000210582,
                                                                  PA0002130901
FREEWILL               RUSH                        OLE            PA0000066536
FUTURESEX /            JUSTIN TIMBERLAKE           OLE            PA000116504,
LOVESOUND                                                         PA0001368884
GIN AND JUICE (FEAT.   SNOOP DOGG, DAZ             OLE            PA0000901892
DAT NIGGA DAZ)         DILLINGER
GIVE IT TO ME          TIMBALAND, JUSTIN           OLE            PA0001167355
                       TIMBERLAKE, NELLY
                       FURTADO
GRILLZ - DIRTY         ALI & GIPP, PAUL            OLE            PA0001334594
                       WALL, NELLY
HAIL MARY              MAKAVELI                    OLE            PA0000897827
HEARTBREAK SONG        MICKEY GUYTON               OLE            PA0002034706
HOME ALONE             KAREN FAIRCHILD,            OLE            PA0002010111
TONIGHT                LUKE BRYAN
HOW NOT TO             DAN + SHAY                  OLE            PA0002065490
I DON’T HAVE TO        CHER                        OLE            PA000186973,
SLEEP TO DREAM -                                                  PA0001866186
BONUS TRACK
I KNOW SOMEBODY        LOCASH                      OLE            PA0002023425
I LOVE THIS LIFE       LOCASH                      OLE            PA0002002565
ICE BOX                OMARION                     OLE            PA0001166658
IF IT MAKES YOU        SHERYL CROW                 OLE            PA0000815033
HAPPY
KISS YOU               ONE DIRECTION               OLE            PA0001837916
LA VILLA STRANGIATO    RUSH                        OLE            PA0000021399
LET THE GROOVE GET     JUSTIN TIMBERLAKE           OLE            PA0001986512
IN
LIKE I LOVED YOU       BRETT YOUNG                 OLE            PA0002023424
LIMELIGHT              RUSH                        OLE            PA0000100469
LIVE MY LIFE           JUSTIN BIEBER, FAR          OLE            PA0001778927
                       EAST MOVEMENT



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      Song Title             Artist          Publisher Plaintiff    PA Number
LIVE WHILE WE’RE       ONE DIRECTION                OLE            PA0001835336
YOUNG
LOOKIN’ FOR THAT       TIM MCGRAW                   OLE            PA0001893793
GIRL
LOVESTONED / I THINK   JUSTIN TIMBERLAKE            OLE            PA0001165050
SHE KNOWS - RADIO
EDIT
MAKE ME BETTER         FABOLOUS, NE-YO              OLE            PA0001599530
MARATHON               RUSH                         OLE            PA0000266077
MEET IN THA MIDDLE     TIMBALAND, BRAN’             OLE            PA0001935809
(FEAT. BRAN’ NU)       NU
MEN IN BLACK           WILL SMITH                   OLE            PAu002192135
MIRRORS                JUSTIN TIMBERLAKE            OLE            PA0001986492
MISS INDEPENDENT       KELLY CLARKSON               OLE            PA0001105447
MORNING AFTER          TIMBALAND, NELLY             OLE            PA0001780007
DARK (FEAT. NELLY      FURTADO, SOSHY
FURTADO & SOSHY)
MURDER (FEAT. JAY-Z)   JUSTIN TIMBERLAKE,           OLE            PA0001901478
                       JAY Z
MY FAVORITE            SHERYL CROW                  OLE            PA000200282,
MISTAKE                                                            PA0000919779
MY FRONT PORCH         LONESTAR                     OLE            PA0001126341
LOOKING IN
MY LOVE (FEAT. T.I.)   JUSTIN TIMBERLAKE,           OLE            PA0001165055
                       T.I.
NOT A BAD THING        JUSTIN TIMBERLAKE            OLE            PA0001901484
OH TIMBALAND -         TIMBALAND                    OLE            PA0001759709
ALBUM VERSION
(EDITED)
ON THE FLOOR           JENNIFER LOPEZ,              OLE            PA0001773478
                       PITBULL
ONE HELL OF AN         BRANTLEY GILBERT             OLE            PA0001993219
AMEN
ONE LAST TIME          ARIANA GRANDE                OLE            PA0001941577
OUT THERE              CHRIS JANSON                 OLE            PA0002130909
POUND THE ALARM        NICKI MINAJ                  OLE            PA0001822045
PROMISCUOUS            TIMBALAND, NELLY             OLE            PA000116446,
                       FURTADO                                     PA0001367878
RAIN OVER ME           MARC ANTHONY,                OLE            PA0001780979
                       PITBULL
RATCHET                TINK                         OLE            PA0001987117
COMMANDMENTS
REALLY DON’T CARE      CHER LLOYD, DEMI             OLE            PA000187605,
                       LOVATO                                      PA0001850403



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      Song Title                Artist        Publisher Plaintiff    PA Number
RED LIGHTS              TIESTO                       OLE            PA0002014531
RELEASE                 TIMBALAND, JUSTIN            OLE            PA0001761877
                        TIMBERLAKE
SAUCE                   JUSTIN TIMBERLAKE            OLE            PA0002130638
SAY IT RIGHT            NELLY FURTADO                OLE            PA0001164463
SAY SOMETHING           JUSTIN TIMBERLAKE,           OLE            PA000210582,
                        CHRIS STAPLETON                             PA0002130605
SAY SOMETHING           TIMBALAND, DRAKE             OLE            PA0001728554
(FEAT. DRAKE)
SEXYBACK                TIMBALAND, JUSTIN            OLE            PA0001165048
                        TIMBERLAKE
SHAKE YA                MURPHY LEE, DIDDY,           OLE            PA000124894,
TAILFEATHER (FEAT. P.   NELLY                                       PA0001196526
DIDDY & MURPHY LEE)
- 2016 REMASTERED
SINGLES YOU UP          JORDAN DAVIS                 OLE            PA0002148198
SOAK UP THE SUN         SHERYL CROW                  OLE            PA0001087054
SOMEBODY ELSE WILL      JUSTIN MOORE                 OLE            PA0002057083
SOMETHING LIKE          TIM MCGRAW                   OLE            PA0000952419
THAT
STARSHIPS               NICKI MINAJ                  OLE            PA0001819003
STRAWBERRY              JUSTIN TIMBERLAKE            OLE            PA0001986536
BUBBLEGUM
SUAVE (KISS ME)         NAYER                        OLE            PA0001966307
(FEAT. MOHOMBI &
PITBULL)
SUIT & TIE              JUSTIN TIMBERLAKE,           OLE            PA0001986493
                        JAY Z
SUMMER LOVE             JUSTIN TIMBERLAKE            OLE            PA000116504,
                                                                    PA0001368885
TAKE BACK THE NIGHT JUSTIN TIMBERLAKE                OLE            PA00019856506
                                                                    2
THANK ME NOW -          DRAKE                        OLE            PA0001728553
ALBUM VERSION
(EDITED)
THE SPIRIT OF RADIO     RUSH                         OLE            PA0000066535
THE WAY I ARE           TIMBALAND, D.O.E.,           OLE            PA0001761677
                        KERI HILSON
THE WAY YOU LOVE        FAITH HILL                   OLE            PA0000980634
ME
THIS HOUSE IS NOT       BON JOVI                     OLE            PA0002046343
FOR SALE
TOM SAWYER              RUSH                         OLE            PA0000100466




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      Song Title              Artist         Publisher Plaintiff    PA Number
VINDICATED             DASHBOARD                    OLE            PA0001295459
                       CONFESSIONAL
VIVIR MI VIDA          MARC ANTHONY                 OLE            PA0001851618
WAITING ON YOU         LINDSAY ELL                  OLE            PA0002080155
WATCH OUT              CHRIS CORNELL                OLE            PA0001856565
WHAT GOES              JUSTIN TIMBERLAKE            OLE            PA0001165051
AROUND.../...COMES
AROUND (INTERLUDE)
WORKING MAN            RUSH                         OLE            PA0000100466
YOU DON’T WANT         MEEK MILL,                   OLE            PA000199657,
THESE PROBLEMS         TIMBALAND, BIG                              PA0002071617
                       SEAN, ACE HOOD,
                       RICK ROSS, DJ
                       KHALED, FRENCH
                       MONTANA, 2 CHAINZ
(FUCK A) SILVER        PANIC! AT THE DISCO       BIG DEAL          PA0002139081
LINING
100% (FEAT. TONY       BIG PUN, TONY             BIG DEAL          PA0001071650
SUNSHINE)              SUNSHINE
AI NO CORRIDA - EDIT   STEFAN RIO, FRANCA        BIG DEAL          PA0000509821
                       MORGANO
BAD MAN                ROBIN THICKE, JOE         BIG DEAL          PA0002018527
                       PERRY, TRAVIS
                       BARKER, PITBULL
BET AIN’T WORTH THE    LEON BRIDGES              BIG DEAL          PA0002146975
HAND
BO$$                   FIFTH HARMONY             BIG DEAL          PA0002082488
BREAK UP WITH HIM      OLD DOMINION              BIG DEAL          PA0001970965
BRING IT BACK          ALEON CRAFT, SHY          BIG DEAL          PA0002111487
                       CARTER
CALL                   FRANCESCO YATES           BIG DEAL          PA0001913089
CAN WE HANG ON ?       COLD WAR KIDS             BIG DEAL          PA0002122143
CHAINS                 NICK JONAS                BIG DEAL          PA0001914172
CRAVING YOU            THOMAS RHETT,             BIG DEAL          PA0002078206
                       MAREN MORRIS
DAISY                  ZEDD                      BIG DEAL          PA0002000365
DANCE                  DNCE                      BIG DEAL          PA0002133661
DARK DAYS              LOCAL NATIVES             BIG DEAL          PA0002099386
DEARLY DEPARTED        ESME PATTERSON,           BIG DEAL          PA0002073611
                       SHAKEY GRAVES
DIE A HAPPY MAN        THOMAS RHETT              BIG DEAL          PA0002051793
DONE FOR ME (FEAT.     KEHLANI, CHARLIE          BIG DEAL          PA0002139217
KEHLANI)               PUTH




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     Song Title               Artist          Publisher Plaintiff    PA Number
DON’T GO BREAKING      BACKSTREET BOYS            BIG DEAL          PA000212712,
MY HEART                                                            PA0002138733
FALLIN’ ALL IN YOU     SHAWN MENDES               BIG DEAL          PA0002140837
FAN GIRL               MICHAEL RAY                BIG DEAL          PA0002139178
FAST SLOW DISCO        ST. VINCENT                BIG DEAL          PA0002143808
FIREBALL (FEAT. JOHN   JOHN RYAN, JOHN            BIG DEAL          PA0001948693
RYAN)                  RYAN, JOHN RYAN,
                       PITBULL
FITNESS                LIZZO                      BIG DEAL          PA0002133561
FOUND YOU              KANE BROWN                 BIG DEAL          PA0002140234
FOUNTAIN OF YOUTH      LOCAL NATIVES              BIG DEAL          PA0002099389
HEADLIGHTS (FEAT.      ILSEY, ROBIN SCHULZ        BIG DEAL          PA0002053698
ILSEY)
HEY MAMI               SYLVAN ESSO                BIG DEAL          PA0001992052
HIGH HOPES             PANIC! AT THE DISCO        BIG DEAL          PA0002144483
IF IT FEELS GOOD       LEON BRIDGES               BIG DEAL          PA0002146976
(THEN IT MUST BE)
IN MY BLOOD            SHAWN MENDES               BIG DEAL          PA0002128764
LEARN TO LET GO        KESHA                      BIG DEAL          PA0002139769
LEAVE RIGHT NOW        THOMAS RHETT               BIG DEAL          PA0002120133
LIAR                   BRITNEY SPEARS             BIG DEAL          PA002048142
LIGHT IT UP            LUKE BRYAN                 BIG DEAL          PA0002144999
LIVE IN THE MIX        FLOW DYNAMICS              BIG DEAL          PA0001597090
LOS AGELESS            ST. VINCENT                BIG DEAL          PA0002145312
LOST IN JAPAN          SHAWN MENDES               BIG DEAL          PA0002128746
LOVE BY THE MOON       TYLER FARR                 BIG DEAL          PA0002133386
LOVE IS MYSTICAL       COLD WAR KIDS              BIG DEAL          PA0002122132
MERCY                  SHAWN MENDES               BIG DEAL          PA0002082652
MISS JACKSON (FEAT.    PANIC! AT THE DISCO,       BIG DEAL          PA0001897494
LOLO)                  LOLO, LOLO
NO SUCH THING AS A     OLD DOMINION               BIG DEAL          PA00002111712
BROKEN HEART
NOW AND LATER          SAGE THE GEMINI            BIG DEAL          PA000206525,
                                                                    PA0002096995
ON THE LOOSE -         NIALL HORAN                BIG DEAL          PA0002087814
ACOUSTIC
PREACHER MAN           THE DRIVER ERA             BIG DEAL          PA0002139188
PULL IT OFF            KANE BROWN                 BIG DEAL          PA0002140237
QUEEN                  SHAWN MENDES               BIG DEAL          PA0002140849
RAPTURE                UNDEROATH                  BIG DEAL          PA0002143926
REALLY REALLY          KEVIN GATES                BIG DEAL          PA0002057816
RENEGADES              THOMAS RHETT               BIG DEAL          PA0002120142
SAID NOBODY            OLD DOMINION               BIG DEAL          PA0002101298


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     Song Title               Artist          Publisher Plaintiff    PA Number
SAVE IT FOR A RAINY    KENNY CHESNEY              BIG DEAL          PA0001970960
DAY
SHUT ME UP             OLD DOMINION               BIG DEAL          PA0001942690
SIXTEEN                THOMAS RHETT               BIG DEAL          PA0002120137
SLOW HANDS             NIALL HORAN                BIG DEAL          PA0002097359
SNAPBACK               OLD DOMINION               BIG DEAL          PA0002101296
SO TIED UP             COLD WAR KIDS,             BIG DEAL          PA0002122121
                       BISHOP BRIGGS
SOME DAYS YOU          DIXIE CHICKS               BIG DEAL          PA0000968803
GOTTA DANCE
SONG FOR ANOTHER       OLD DOMINION               BIG DEAL          PA0002101299
TIME
STITCHES               SHAWN MENDES               BIG DEAL          PA0001993016
SUMMER NIGHTS          JOHN LEGEND,               BIG DEAL          PA000206511,
                       TIESTO                                       PA0002044086
THANK GOD FOR GIRLS    WEEZER                     BIG DEAL          PA0002089150
THE MOUNTAIN           THREE DAYS GRACE           BIG DEAL          PA0002128763
THERE’S NOTHING        SHAWN MENDES               BIG DEAL          PA0002131084
HOLDIN’ ME BACK
THESE DAYS             DAN CAPLEN,                BIG DEAL          PA0002139203
                       MACKLEMORE,
                       RUDIMENTAL, JESS
                       GLYNNE
TREAT YOU BETTER       SHAWN MENDES               BIG DEAL          PA0002082557
WHERE THE              KEITH URBAN                BIG DEAL          PA0000972877
BLACKTOP ENDS
WHY DON’T YOU          DJDS, EMPRESS OF,          BIG DEAL          PA0002114442
COME ON                KHALID
WIGGLE (FEAT. SNOOP    SNOOP DOGG, JASON          BIG DEAL          PA0002045070
DOGG)                  DERULO
YOUTH (FEAT. KHALID)   SHAWN MENDES,              BIG DEAL          PA0002140855
                       KHALID
2 PHONES               KEVIN GATES                  PULSE           PA0002082983
ALL EYEZ (FEAT.        THE GAME, JEREMIH            PULSE           PA0002065078
JEREMIH)
ALTAR (FEAT.           SWEATER BEATS,               PULSE           PA0002094604
R.LUM.R)               R.LUM.R
AMERICAN MONEY         BØRNS                        PULSE           PA0001991515
ANIMAL                 NEON TREES                   PULSE           PAu003532360
AVALANCHE              WALK THE MOON                PULSE           PA0001991109
AYO                    LADY GAGA                    PULSE           PA0002085509
BACKBONE               DAUGHTRY                     PULSE           PA0002151787
BANGARANG (FEAT.       SIRAH, SKRILLEX              PULSE           PA0001793790
SIRAH)


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     Song Title             Artist          Publisher Plaintiff    PA Number
BE REAL              DEJ LOAF, KID INK            PULSE           PA0001984121
BOOGIE FEET          EAGLES OF DEATH              PULSE           PA0002123235
                     METAL, KE$HA
BROCOLLI             DRAM, LIL YACHTY             PULSE           PA0002047080
BULLETS              KAYTRANADA,                  PULSE           PA0002114728
                     LITTLE DRAGON
BY THE WAY           LINDSAY ELL                  PULSE           PA0002096728
CALIFORNIA GURLS     SNOOP DOGG, KATY             PULSE           PA000171165,
                     PERRY                                        PA0001396981
CANDLES (CARTA       MORGAN PAGE,                 PULSE           PA0002120345
REMIX)               CARTA, STEVE JAMES
CATCHING PLAYS       WAX MOTIF,                   PULSE           PA0002051598
                     DESTRUCTO,
                     STARRAH, PUSHA T
CELOSO               LELE PONS                    PULSE           PA0002146335
CENTURIES            FALL OUT BOY                 PULSE           PA0001961647
CHANGE YOUR LIFE     IGGY AZALEA, T.I.            PULSE           PA0001864872
CLOUT (FEAT. 21      TY DOLLA $IGN, 21            PULSE           PA0002151806
SAVAGE)              SAVAGE
COMPANY              JUSTIN BIEBER                PULSE           PA0002011132
CRAZY DREAMS         CARRIE UNDERWOOD             PULSE           PA0001642863
CREW                 SHY GLIZZY, BRENT            PULSE           PA0002100063
                     FAIYAZ, GOLDLINK
CRY PRETTY           CARRIE UNDERWOOD             PULSE           PA0002138739
CUTE REMIX           DRAM, CARDI B                PULSE           PA0002080507
DANTE’S CREEK        THEY.                        PULSE           PA0002084981
DAY DRINKING         LITTLE BIG TOWN              PULSE           PA0001913654
DON’T GO BREAKING    BACKSTREET BOYS              PULSE           PA000212712,
MY HEART                                                          PA0002138733
DYNAMITE RADIO       TAIO CRUZ                    PULSE           PA000139695,
EDIT                                                              PA0001720607
ELECTRIC LOVE        BØRNS                        PULSE           PA0001991514
EVERYBODY TALKS      NEON TREES                   PULSE           PA0001811165
EVERYWHERE I GO      NEW POLITICS                 PULSE           PA0002021787
(KINGS AND QUEENS)
FALSE ALARM          BECKY HILL,                  PULSE           PA0002064663
                     MATOMA
FIREBIRD             GALANTIS                     PULSE           PA0001991086
FRIENDS (WITH        JULIA MICHAELS,              PULSE           PA0002094019
BLOODPOP¬Æ & JULIA   JUSTIN BIEBER,
MICHAELS) REMIX      BLOODPOP¬Æ
FRONT OF THE LINE    KONSHENS, MAJOR              PULSE           PA0002114669
                     LAZER, MACHEL
                     MONTANO


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      Song Title               Artist         Publisher Plaintiff    PA Number
GENGHIS KHAN            MIIKE SNOW                  PULSE           PA0002082796
GET USED TO IT          JUSTIN BIEBER               PULSE           PA0002011364
GIRL                    THE INTERNET,               PULSE           PA0001992787
                        KAYTRANADA
GIRLS CHASE BOYS        INGRID MICHAELSON           PULSE           PA0001932052
GIRLS LIKE YOU          MAROON 5                    PULSE           PA0002138332
GIRLS LIKE YOU (FEAT.   MAROON 5, CARDI B           PULSE           PA0002138734
CARDI B)
GOLD DUST               GALANTIS                    PULSE           PA0001991014
GOT IT GOOD             KAYTRANADA, CRAIG           PULSE           PA0002084787
                        DAVID
HAPPY PEOPLE            LITTLE BIG TOWN             PULSE           PA0002063464
HERE IT IS (FEAT.       FLO RIDA, CHRIS             PULSE           PA0001996539
CHRIS BROWN)            BROWN
HEY ALLIGATOR           GALANTIS                    PULSE           PA0002092097
HOLD IT AGAINST ME      BRITNEY SPEARS              PULSE           PA000173294,
                                                                    PA0001396974
HUMAN TOUCH             BETTY WHO                   PULSE           PA0002129650
I DON’T HAVE TO         CHER                        PULSE           PA000186973,
SLEEP TO DREAM                                                      PA0001866186
BONUS TRACK
I GOT THE KEYS          DJ KHALED, JAY Z,           PULSE           PA0002067633
                        FUTURE
IN THE NAME OF LOVE     MARTIN GARRIX,              PULSE           PA0002059620
                        BEBE REXHA
IN THE NEXT ROOM        NEON TREES                  PULSE           PAu003532360
IT’S A VIBE             TY DOLLA $IGN, 2            PULSE           PA0002097354
                        CHAINZ, JHENE AIKO,
                        TREY SONGZ
JEALOUS (I AIN’T WITH   CHROMEO                     PULSE           PA0001891375
IT)
JOHN WAYNE              LADY GAGA                   PULSE           PA0002134445
JUMP [FEAT. NELLY       FLO RIDA                    PULSE           PA000173404,
FURTADO] -                                                          PA0001670549
MALINCHAK CLUB MIX
KISS THE SKY            JASON DERULO                PULSE           PA0002096234
KIWI                    HARRY STYLES                PULSE           PA0002085476
KNOW NO BETTER          TRAVIS SCOTT,               PULSE           PA0002107796
                        CAMILA CABELLO,
                        MAJOR LAZER,
                        QUAVO
LAST FOREVER (FEAT.     DESTRUCTO, OLIVER,          PULSE           PA0002125060
SAM SPARRO)             SAM SPARRO
DESTRUCTO REMIX



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       Song Title            Artist          Publisher Plaintiff    PA Number
LAST FRIDAY NIGHT     KATY PERRY                   PULSE           PA000171165,
(T.G.I.F.)                                                         PA0001396980
LEGEND HAS IT         RUN THE JEWELS               PULSE           PA0002113097
LET THERE BE LOVE     CHRISTINA                    PULSE           PA0001824960
                      AGUILERA
LOUD                  DESIIGNER,                   PULSE           PA0002153385
                      GOLDLINK, SILK CITY
LOVE GANG (FEAT.      WHETHAN, CHARLI              PULSE           PA0002081231
CHARLI XCX)           XCX
MAKE MY LOVE GO       JAY SEAN, SEAN PAUL          PULSE           PA0002107485
MOVE TO MIAMI         ENRIQUE IGLESIAS,            PULSE           PA0002138729
                      PITBULL
MY MISTAKE            CAM                          PULSE           PA0001991486
NARCISSISTIC          KILL THE NOISE,              PULSE           PA0001829499
CANNIBAL (FEAT.       SKRILLEX, KORN
SKRILLEX & KILL THE
NOISE)
NEEDED ME             RIHANNA                      PULSE           PA0002083713
NEVER LETTING GO      ZAC SAMUEL, MOON             PULSE           PA0002053434
                      WILLIS, TAYA
NO FRAUDS             LIL WAYNE, DRAKE,            PULSE           PA0002127933
                      NICKI MINAJ
NO MONEY              GALANTIS                     PULSE           PA0002064688
NOW AND LATER         SAGE THE GEMINI              PULSE           PA000206525,
                                                                   PA0002096995
NOW OR NEVER          HALSEY                       PULSE           PA0002113580
OTW                   TY DOLLA $IGN,               PULSE           PA0002138724
                      KHALID, 6LACK
PART OF ME            KATY PERRY                   PULSE           PAU003574141
PEANUT BUTTER         GALANTIS                     PULSE           PA0001991022
JELLY
PERFECT ILLUSION      LADY GAGA                    PULSE           PA0002085524
PICK UP THE PHONE     TRAVIS SCOTT,                PULSE           PA0002065781
                      YOUNG THUG
ROAR                  KATY PERRY                   PULSE           PA0001860200
RUM                   BROTHERS OSBORNE             PULSE           PA0001962395
RUNAWAY (U & I)       GALANTIS                     PULSE           PA0001987640
SLIPPERY (FEAT.       MIGOS, GUCCI MANE            PULSE           PA0002089448
GUCCI MANE)
SLOW DOWN LOVE        LOUIS THE CHILD,             PULSE           PA0002090523
                      CHELSEA CUTLER
SLOW HANDS            NIALL HORAN                  PULSE           PA0002097359
SLOW YOUR ROLL        BROTHERS OSBORNE             PULSE           PA0002147987




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      Song Title              Artist         Publisher Plaintiff    PA Number
SOLO (FEAT. DEMI       CLEAN BANDIT, DEMI          PULSE           PA0001681014
LOVATO)                LOVATO
SOMEBODY LOVES         BETTY WHO                   PULSE           PA0001842726
YOU
SORRY                  JUSTIN BIEBER               PULSE           PA0002011130
SUMMER NIGHTS          JOHN LEGEND,                PULSE           PA000206511,
                       TIESTO                                      PA0002044086
SWISH SWISH            KATY PERRY, NICKI           PULSE           PA0002096967
                       MINAJ
SWITCH                 ANITTA, IGGY                PULSE           PA0002090911
                       AZALEA
TEENAGE DREAM          KATY PERRY                  PULSE           PA0001711657,
                                                                   PA0001396977
TEN FEET TALL          WRABEL, AFROJACK            PULSE           PA0001892528
THE HALF               JEREMIH, DJ SNAKE,          PULSE           PA0002076792
                       YOUNG THUG, SWIZZ
                       BEATZ
THINK A LITTLE LESS    MICHAEL RAY                 PULSE           PA0002096645
VICTORIOUS             PANIC! AT THE DISCO         PULSE           PA0002026247
WHAT LOVERS DO         MAROON 5, SZA               PULSE           PA0002093877
(FEAT. SZA)
WIDE AWAKE             KATY PERRY                  PULSE           PA0001807124
WOMAN                  KESHA, THE                  PULSE           PA0002123237
                       DAPKINGS HORNS
WORK THE MIDDLE        ALEX AIONO                  PULSE           PA0002065849
WROTE MY WAY OUT       NAS, DAVE EAST,             PULSE           PA0002120508
                       LIN-MANUEL
                       MIRANDA, ALOE
                       BLACC
YESTERDAY’S SONG       HUNTER HAYES                PULSE           PA0002096646
ZAMBONI                OLIVER, ATRAK               PULSE           PA0001873763
1, 2, 3 (FEAT. JASON   JASON DERULO, DE             PEER           PA0002111457
DERULO & DE LA         LA GHETTO, SOFIA
GHETTO)                REYES
6 WORDS                WRETCH 32                   PEER            PA0002052607
A DIOS LE PIDO         JUANES                      PEER            PA0001101346
AM RADIO               EVERCLEAR                   PEER            PA0001037456
BACK IT UP             PRINCE ROYCE,               PEER            PA0001992221
                       PITBULL
BLAME IT               T-PAIN, JAMIE FOXX          PEER            PA0001761059,
                                                                   PA0001770185
BOO’D UP               ELLA MAI                    PEER            PA0002123747
BOOMBASTIC             SHAGGY                      PEER            PA0000786728,
                                                                   PA0000707107



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     Song Title              Artist         Publisher Plaintiff    PA Number
BREAKIN’ DISHES       RIHANNA                     PEER            PA0000786728
CAN’T YOU HEAR MY     HERMAN’S HERMITS            PEER            RE0000613850,
HEARTBEAT                                                         EFO000106683
CASE OF THE EX        MYA                         PEER            PA0000981023
(WHATCHA GONNA
DO)
CONCRETE ANGEL        CHRISTINA NOVELLI,          PEER            PA0001957740
(RADIO EDIT) (FEAT.   GARETH EMERY
CHRISTINA NOVELLI)
DAYS LIKE THESE       JASON ALDEAN                PEER            PA0001727376
DINERO                DJ KHALED,                  PEER            PA0002127207
                      JENNIFER LOPEZ,
                      CARDI B
DIRT TO DUST          JASON ALDEAN                PEER            PA0002120005
DROP IT LOW           ESTER DEAN, CHRIS           PEER            PA0001780379
                      BROWN
DRUNK ON LOVE         RIHANNA                     PEER            PA0001780323
EVERYBODY’S FREE -    ROZALLA, DAVID              PEER            PA0000579606
RADIO EDIT            ANTHONY
EVERYDAY - SINGLE     BUDDY HOLLY                 PEER            RE0000252810,
VERSION                                                           EP0000114122
EVERYTHING YOU        BREACH, ANDREYA             PEER            PA0001896564
NEVER HAD (WE HAD     TRIANA
IT ALL) [FEAT.
ANDREYA TRIANA]
FIREWORK              KATY PERRY                  PEER            PA0001724730,
                                                                  PA0001716006
FLATLINER (FEAT.      DIERKS BENTLEY,             PEER            PA0002019754
DIERKS BENTLEY)       COLE SWINDELL
FOR A LITTLE WHILE    TIM MCGRAW                  PEER            PA0000863599
FURTHEST THING        DRAKE                       PEER            PA0001896161,
                                                                  PA0001901086
GETTIN’ WARMED UP     JASON ALDEAN                PEER            PA0002117115
GIRL                  THE INTERNET,               PEER            PA0001992787
                      KAYTRANADA
GIRLFIGHT             BROOKE VALENTINE,           PEER            PA0001287694,
                      LIL JON, BIG BOI                            PA0001288226
GLORY OF LOVE         PETER CETERA                PEER            PA0000293891
GOIN’ THROUGH THE     MARK CHESNUTT               PEER            PA0000707668
BIG D
GOT TO BE REAL        CHERYL LYNN                 PEER            PA0000813360
GUILTY                USHER, T.I.                 PEER            PA0001816432
HARD TO SAY I’M       CHICAGO                     PEER            PA0000150388
SORRY - REMASTERED
VERSION


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      Song Title              Artist          Publisher Plaintiff    PA Number
HELL OF A NIGHT       DUSTIN LYNCH                  PEER            PA0001962038,
                                                                    PA0001932282
HOW COUNTRY FEELS     RANDY HOUSER                  PEER            PA0001837687
I HAVE NOTHING        WHITNEY HOUSTON               PEER            PA0000629301
I LUV YOUR GIRL -     THE-DREAM                     PEER            PA0001656831
ALBUM VERSION
(EDITED)
I’LL WAIT FOR YOU     JASON ALDEAN                  PEER            PA0002120035
IN MY FEELINGS        DRAKE                         PEER            PA0002158240
IT’S OH SO QUIET      BJORK                         PEER            RE0000822263,
                                                                    EP0000308226
IT’S TOO FUNKY IN     JAMES BROWN                   PEER            PAU000127840
HERE
JEALOUS               NICK JONAS                    PEER            PA0001913489
JUMP [FEAT. NELLY     FLO RIDA                      PEER            PA0001734047,
FURTADO] -                                                          PA0001670549
MALINCHAK CLUB MIX
JUST FINE             MARY J. BLIGE                 PEER            PA0001594809
JUST LIKE ME          T.I., JAMIE FOXX              PEER            PA0001770182
LA CAMISA NEGRA       JUANES                        PEER            PA0001252263
LEFT TURN ON A RED    BLACKFOOT                     PEER            PAU000109366
LIGHT
LETTING GO (DUTTY     SEAN KINGSTON,                PEER            PA0001780327
LOVE) FEAT. NICKI     NICKI MINAJ
MINAJ
LIL FREAK             USHER, NICKI MINAJ            PEER            PA0001734101
LOVE THEME FROM ST.   DAVID FOSTER                  PEER            PA0000277148
ELMO’S FIRE
(INSTRUMENTAL)
LOVEEEEEEE SONG       RIHANNA, FUTURE               PEER            PA0001830135
MAJOR TOM             PETER SCHILLING               PEER            PA0000182909
MAKE HER SAY          KID CUDI, KANYE               PEER            PA0001847910
                      WEST, COMMON
MAMBO NO. 5 (A        PEREZ                         PEER            PA0000968419
LITTLE BIT OF...)     PRADO/ZIPPY/LOU
                      BEGA
MAS QUE NADA          THE BLACK EYED                PEER            RE0000709424,
                      PEAS, SERGIO                                  EP0000239486
                      MENDES
MAYBERRY              RASCAL FLATTS                 PEER            PA0001147329
MELLOW YELLOW         DONOVAN                       PEER            RE0000676169,
                                                                    EP0000228623
NIGHT TRAIN           JASON ALDEAN                  PEER            PA0001815712




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     Song Title              Artist         Publisher Plaintiff    PA Number
NO ONE ELSE ON        WYNONNA                     PEER            PA0000583982
EARTH
NOT MYSELF TONIGHT    CHRISTINA                   PEER            PA0001716028
                      AGUILERA
OLD TIME ROCK &       BOB SEGER                   PEER            RE0000931306,
ROLL                                                              EP0000375950
OOBY DOOBY            CREEDENCE                   PEER            RE0000196669,
                      CLEARWATER                                  EP0000101209
                      REVIVAL
RIGHT THERE           50 CENT, NICOLE             PEER            PA0001781163
                      SCHERZINGER
RING MY BELL          ANITA WARD                  PEER            PA0000033911
ROLEX                 AYO & TEO                   PEER            PA0002109560
RUDE BOY              RIHANNA                     PEER            PA0001702220
SAY SOMETHING         JUSTIN TIMBERLAKE,          PEER            PA0002105826,
                      CHRIS STAPLETON                             PA0002130605
SET IT OFF            JASON ALDEAN                PEER            PA0002120367
SHE’S A BEAUTY        THE TUBES                   PEER            PA0000185498
SHOW ME REMIX         JUICY J, KID INK, 2         PEER            PA0001916485
                      CHAINZ, TREY
                      SONGZ, CHRIS
                      BROWN
SOMEWHERE ON A        DIERKS BENTLEY              PEER            PA0002018753
BEACH
SOUR TIMES            PORTISHEAD                  PEER            PA0000748369
ST. CROIX             FAMILY OF THE YEAR          PEER            PA0001825557
ST. ELMOS FIRE (MAN   JOHN PARR                   PEER            PA0000267138
IN MOTION)
STARDUST              HOAGY CARMICHAEL            PEER            RE000191604,
                                                                  EP0000037446
SUPER BASS            NICKI MINAJ                 PEER            PA0001733269
TE BUSCO (FEAT.       NICKY JAM,                  PEER            PA0002072153
NICKY JAM)            COSCULLUELA
THE ONLY WAY IS UP    YAZZ                        PEER            PAU000407785
THE RHYTHM OF THE     CORONA                      PEER            PA0000752383
NIGHT
THERE WAS THIS GIRL   RILEY GREEN                 PEER            PA0002135434
THEY DON’T KNOW       JASON ALDEAN                PEER            PA0002029534
THROUGH THE FIRE      CHAKA KHAN                  PEER            PA0000235442
TOUCH MY BODY         MARIAH CAREY                PEER            PA0001608150
UMBRELLA              JAY Z, RIHANNA              PEER            PA0001355560
WALK LIKE AN          THE BANGLES                 PEER            PA0000278841
EGYPTIAN




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      Song Title              Artist         Publisher Plaintiff    PA Number
WALK, DON’T RUN        THE VENTURES                PEER            RE0000388412,
                                                                   EU0000635193
WHAT I MIGHT DO        BEN PEARCE                  PEER            PA0001994174
WHATEVER YOU NEED      MEEK MILL, TY               PEER            PA0002085658
(FEAT. CHRIS BROWN     DOLLA $IGN, CHRIS
& TY DOLLA $IGN)       BROWN
WHAT’S MY NAME?        DRAKE, RIHANNA              PEER            PA0001741634
WILL YOU STILL LOVE    CHICAGO                     PEER            PA0000306139
ME? - REMASTERED
VERSION
WOOHOO                 CHRISTINA                   PEER            PA0001782276
                       AGUILERA, NICKI
                       MINAJ
YOU DON’T EVEN         WALKER MCGUIRE              PEER            PA0002142598
KNOW
YOU’RE THE             CHICAGO                     PEER            PA0000213889
INSPIRATION -
REMASTERED
24 HOURS               TEEFLII, 2 CHAINZ        RESERVOIR          PA0002001228
5-1-5-0                DIERKS BENTLEY           RESERVOIR          PA0001801006
6 FOOT 7 FOOT          LIL WAYNE, CORY          RESERVOIR          PA0001731713,
                       GUNZ                                        PA0001807261
7 WEEKS                GYM CLASS HEROES         RESERVOIR          PA0001165393
A CHANGE WOULD DO      SHERYL CROW              RESERVOIR          PA0000886508,
YOU GOOD                                                           PA0000852627
ABOUT A GIRL           THE ACADEMY IS...        RESERVOIR          PA0001710208
ADD ME IN              CHRIS BROWN              RESERVOIR          PA0002052053,
                                                                   PA0002016121
ALARM                  ANNE-MARIE               RESERVOIR          PA0002075142
ALL I WANNA DO         SHERYL CROW              RESERVOIR          PA0000664140,
                                                                   PA0000669884
ALL JACKED UP          GRETCHEN WILSON          RESERVOIR          PA0001162557,
                                                                   PA0001305115
ALL THE ABOVE [FEAT.   T-PAIN, MAINO            RESERVOIR          PA0001787141
T-PAIN]
AMARILLO SKY           JASON ALDEAN             RESERVOIR          PA0001084244
AMAZED                 LONESTAR                 RESERVOIR          PA0000985472,
                                                                   PA0000965043
ANYWHERE               RITA ORA                 RESERVOIR          PA0002095347
BABY, BABY             AMY GRANT                RESERVOIR          PA0000512809
BAD AND BOUJEE         MIGOS, LIL UZI VERT      RESERVOIR          PA0002072685
(FEAT. LIL UZI VERT)
BAD INTENTIONS         MIGOS, NIYKEE            RESERVOIR          PA0001913088
                       HEATON, OG PARKER



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      Song Title               Artist           Publisher Plaintiff    PA Number
BANDZ A MAKE HER        LIL WAYNE, JUICY J, 2      RESERVOIR          PA0001896868
DANCE                   CHAINZ
BE LEGENDARY            POP EVIL                   RESERVOIR          PA0002135769
BEEZ IN THE TRAP        NICKI MINAJ, 2             RESERVOIR          PA0001912279
                        CHAINZ
BETWEEN ME & YOU        CHRISTINA MILIAN,          RESERVOIR          PA0001015456
                        JA RULE
BIG ON BIG              MIGOS                      RESERVOIR          PA0002127843,
                                                                      PA0002074260
BIRTHDAY SONG           KANYE WEST, 2              RESERVOIR          PA0001811847
                        CHAINZ
BLACK CAR               MIRIAM BRYANT              RESERVOIR          PA0002051146
BLACK OUT DAYS          PHANTOGRAM                 RESERVOIR          PA0001939010
BLIND HEART - RADIO     CAZZETTE, TERRI B!         RESERVOIR          PA0001924537
EDIT
BLOW THE WHISTLE        TOO $HORT                  RESERVOIR          PA0001333674
BODIES                  DROWNING POOL              RESERVOIR          PA0001962427
BOJANGLES REMIX         LIL JON, YING YANG         RESERVOIR          PA0001639018
                        TWINS, PITBULL
BON APPETIT             KATY PERRY, MIGOS          RESERVOIR          PA0002085760
BREAK THE ICE           BRITNEY SPEARS             RESERVOIR          PA0001396255
BREAK YA NECK           BUSTA RHYMES               RESERVOIR          PA0001146361
BRING ME TO LIFE        EVANESCENCE                RESERVOIR          PA0001152549
BROKEN                  SEETHER, AMY LEE           RESERVOIR          PA0001144456
BROWN PAPER BAG         MIGOS                      RESERVOIR          PA0002127784,
                                                                      PA0002074748
BUILD YOU UP            50 CENT, JAMIE FOXX        RESERVOIR          PA0001271625
BUY U A DRANK           YUNG JOC, T-PAIN           RESERVOIR          PA0001601621
(SHAWTY SNAPPIN’)
CALL ME WHEN            EVANESCENCE                RESERVOIR          PA0001349398
YOU’RE SOBER
CAN I GET A...          JAY Z, JA RULE, AMIL       RESERVOIR          PA0000875311
CANDY SHOP              OLIVIA, 50 CENT            RESERVOIR          PA0001271624
CAN’T HOLD US DOWN      CHRISTINA                  RESERVOIR          PA0001104828,
(FEAT. LIL’ KIM)        AGUILERA, LIL’ KIM                            PA0001143432
CARRY OUT (FEAT.        TIMBALAND, JUSTIN          RESERVOIR          PA0001780010,
JUSTIN TIMBERLAKE)      TIMBERLAKE                                    PA0001935810
CHECK YES, JULIET       WE THE KINGS               RESERVOIR          PA0001766953
CHRISTMAS TIME          CHRISTINA                  RESERVOIR          PA0001043923
                        AGUILERA
CLOTHES OFF!!           GYM CLASS HEROES           RESERVOIR          PA0001165384
COME ON OVER BABY       CHRISTINA                  RESERVOIR          PA0001043925
(ALL I WANT IS YOU) -   AGUILERA
RADIO VERSION


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     Song Title               Artist        Publisher Plaintiff    PA Number
CRY ME A RIVER        JUSTIN TIMBERLAKE        RESERVOIR          PA0001149534
CULTURE (FEAT. DJ     MIGOS, DJ KHALED         RESERVOIR          PA0002073669
KHALED)
DAMMIT MAN REMIX      LIL’ FLIP, PITBULL       RESERVOIR          PA0001602405
DEADZ (FEAT. 2        MIGOS, 2 CHAINZ          RESERVOIR          PA0002088665
CHAINZ)
DEAR BOY              AVICII                   RESERVOIR          PA0001875092
DEVASTATED            JOEY BADA$$              RESERVOIR          PA0002097517
DISCO INFERNO -       THE TRAMMPS              RESERVOIR          RE0000914039,
SINGLE EDIT                                                       EU0000752757
DON’T GO BREAKING     BACKSTREET BOYS          RESERVOIR          PA0002127129,
MY HEART                                                          PA0002138733
DON’T SAY NUTHIN’ -   THE ROOTS                RESERVOIR          PA0001272828
RADIO EDIT
DON’T WANNA GO        JASON DERULO             RESERVOIR          PA0001754579
HOME
DOWN ON THE FARM      TIM MCGRAW               RESERVOIR          PA0000689537
DRINKING FROM THE     TINIE TEMPAH,            RESERVOIR          PA0001852685
BOTTLE (FEAT. TINIE   CALVIN HARRIS
TEMPAH)
DRIP (FEAT. MIGOS)    MIGOS, CARDI B           RESERVOIR          PA0002126752,
                                                                  PA0002142791
DRUM MACHINE          SKRILLEX, BIG            RESERVOIR          PA0002008381
                      GRAMS
EFFORTLESS            WALE                     RESERVOIR          PA0002133269
EIGHT MILES HIGH      THE BYRDS                RESERVOIR          RE0000662812,
                                                                  EU0000929871
EVERYBODY’S FOOL      EVANESCENCE              RESERVOIR          PA0001152550
EVERYDAY IS A         SHERYL CROW              RESERVOIR          PA0000852628
WINDING ROAD
FAKE IT               SEETHER                  RESERVOIR          PA0001647499
FALL IN LOVE          PHANTOGRAM               RESERVOIR          PA0001939932
FALSE ALARM           BECKY HILL,              RESERVOIR          PA0002064663
                      MATOMA
FAMILY PORTRAIT       P!NK                     RESERVOIR          PA0001143423
FAST CARS AND         RASCAL FLATTS            RESERVOIR          PA0001268341
FREEDOM
FELT GOOD ON MY       TIM MCGRAW               RESERVOIR          PA0001787902
LIPS
FIGHT NIGHT           MIGOS                    RESERVOIR          PA0001912283
FIGHTER               CHRISTINA                RESERVOIR          PA0001143426
                      AGUILERA
FINE AGAIN            SEETHER                  RESERVOIR          PA0001144447




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     Song Title             Artist          Publisher Plaintiff    PA Number
FOR YOU (FIFTY       LIAM PAYNE, RITA          RESERVOIR          PA0002105731
SHADES FREED)        ORA
FREEK-A-LEEK         PETEY PABLO               RESERVOIR          PA0001265993
G.O.M.D.             J. COLE                   RESERVOIR          PA0001975906
GANG GANG            MIGOS                     RESERVOIR          PA0002129455
GANG UP (WITH        2 CHAINZ, WIZ             RESERVOIR          PA0002088483
YOUNG THUG, 2        KHALIFA, YOUNG
CHAINZ & WIZ         THUG, PNB ROCK
KHALIFA FEAT. PNB
ROCK)
GASOLINA - DJ        LIL JON, NORIEGA,         RESERVOIR          PA0001256556
BUDDAH REMIX         PITBULL, DADDY
                     YANKEE
GET NAKED (I GOT A   BRITNEY SPEARS            RESERVOIR          PA0001655622
PLAN)
GET YOUR MONEY UP    KEYSHIA COLE, KERI        RESERVOIR          PA0001881522,
                     HILSON, TRINA                                PA0002110157,
                                                                  PA0001670498
GIMME MORE           BRITNEY SPEARS            RESERVOIR          PA0001680545
GIMME THAT           CHRIS BROWN               RESERVOIR          PA0001299255
GIRLFIGHT            BROOKE VALENTINE,         RESERVOIR          PA0001287694,
                     LIL JON, BIG BOI                             PA0001288226
GIRL’S AROUND THE    LLOYD, LIL WAYNE          RESERVOIR          PA0001677803
WORLD - RADIO
VERSION
GOING UNDER          EVANESCENCE               RESERVOIR          PA0001152548
GOOD DRANK           GUCCI MANE, 2             RESERVOIR          PA0002113343
                     CHAINZ, QUAVO
GORGEOUS - ALBUM     KID CUDI, KANYE           RESERVOIR          PA0001740943
VERSION (EDITED)     WEST, RAEKWON
HEADBAND (FEAT. 2    B.O.B, 2 CHAINZ           RESERVOIR          PA0001864974
CHAINZ)
HELLO GOOD           DIDDY - DIRTY             RESERVOIR          PA0001745034
MORNING              MONEY, T.I.
HERE FOR THE PARTY   GRETCHEN WILSON           RESERVOIR          PA0002021251
HERE’S TO YOU        RASCAL FLATTS             RESERVOIR          PA0001245753
HIGHER               JUST BLAZE AND            RESERVOIR          PA0001849649
                     BAAUER, JAY Z
HIGHLIGHTS           KANYE WEST                RESERVOIR          PA0002088532
HOLD YOU DOWN        FAT JOE, JENNIFER         RESERVOIR          PA0001271297
                     LOPEZ
HOLLA HOLLA          JA RULE                   RESERVOIR          PA0000940961
HOOD GO CRAZY        B.O.B, 2 CHAINZ,          RESERVOIR          PA0002005870
                     TECH N9NE



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      Song Title              Artist          Publisher Plaintiff    PA Number
HUMAN                  RAG’N’BONE MAN            RESERVOIR          PA0002051193
HUSH                   LL COOL J, 7              RESERVOIR          PA0001270950,
                       AURELIUS                                     PA0001160433
I CAN’T EVEN LIE       DJ KHALED, NICKI          RESERVOIR          PA0002116005
(FEAT. FUTURE &        MINAJ, FUTURE
NICKI MINAJ)
I COULD FALL IN LOVE   SELENA                    RESERVOIR          PA0000762316
I KNOW THERE’S         YOUNG THUG, JAMIE         RESERVOIR          PA0002083924
GONNA BE (GOOD         XX, POPCAAN
TIMES)
I LIKE IT, I LOVE IT   TIM MCGRAW                RESERVOIR          PA0000643837
I MELT                 RASCAL FLATTS             RESERVOIR          PA0001143200
IF I RULED THE WORLD   NAS, MS. LAURYN           RESERVOIR          PA0001293291
(IMAGINE THAT)         HILL
IF IT MAKES YOU        SHERYL CROW               RESERVOIR          PA0000815033
HAPPY
I’M A KING             P$C                       RESERVOIR          PAu002946427
I’M DIFFERENT          2 CHAINZ                  RESERVOIR          PA0001811856
IMPOSSIBLE             JAMES ARTHUR              RESERVOIR          PA0001755396
IT AIN’T ME            SELENA GOMEZ,             RESERVOIR          PA0002088253
                       KYGO
IT’S A VIBE            TY DOLLA $IGN, 2          RESERVOIR          PA0002097354
                       CHAINZ, JHENE AIKO,
                       TREY SONGZ
JUMP - ALBUM           RIHANNA                   RESERVOIR          PA0001840753
VERSION (EDITED)
JUST A LIL BIT         50 CENT                   RESERVOIR          PA0001271626
K.Y.S.A.               PHANTOGRAM                RESERVOIR          PA0002000953
KEG IN THE CLOSET      KENNY CHESNEY             RESERVOIR          PA0001213502
KILL THE LIGHTS        BRITNEY SPEARS            RESERVOIR          PA0001626944
KNEW BETTER /          ARIANA GRANDE             RESERVOIR          PA0002065692
FOREVER BOY
KNOCK YOU DOWN         KANYE WEST, KERI          RESERVOIR          PA0001670495
                       HILSON, NE-YO
LASH OUT               ALICE MERTON              RESERVOIR          PA0002127330
LAST RESORT            PAPA ROACH                RESERVOIR          PA0000960732
LEAN BACK              REMY MA, FAT JOE,         RESERVOIR          PA0001241897
                       TERROR SQUAD
LEAN ON                MØ, DJ SNAKE,             RESERVOIR          PA0001986623
                       MAJOR LAZER
LEAN ON (REHASHED)     GHOST                     RESERVOIR          PA0001982936
LET ME BLOW YA         GWEN STEFANI, EVE         RESERVOIR          PA0001143421
MIND




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      Song Title             Artist         Publisher Plaintiff    PA Number
LET ME GO (WITH       FLORIDA GEORGIA          RESERVOIR          PA0002110312
ALESSO, FLORIDA       LINE, HAILEE
GEORGIA LINE &        STEINFELD, ALESSO,
WATT)                 WATT
LET ME THINK ABOUT    FEDDE LE GRAND,          RESERVOIR          PA0001927606
IT                    IDA CORR
LIQUID DREAMS         O-TOWN                   RESERVOIR          PA0001042234
LONELY TOGETHER -     ALAN WALKER, RITA        RESERVOIR          PA0002089808
(FEAT. RITA ORA)      ORA, AVICII
ALAN WALKER REMIX
LOT OF LEAVIN’ LEFT   DIERKS BENTLEY           RESERVOIR          PA0001295832
TO DO
LOVE DRUNK            BOYS LIKE GIRLS          RESERVOIR          PA0001735247
LOVE YOU OUT LOUD     RASCAL FLATTS            RESERVOIR          PA0001143203
MAGNIFICENT           RICK ROSS, JOHN          RESERVOIR          PA0001651715
                      LEGEND
MAKE IT RAIN          LIL WAYNE, FAT JOE       RESERVOIR          PA0001345937
MARBLE FLOORS         LIL WAYNE, RICK          RESERVOIR          PA0001895374
                      ROSS, FRENCH
                      MONTANA, 2 CHAINZ
MARRY ME              TRAIN                    RESERVOIR          PA0001729151
MFN RIGHT             2 CHAINZ                 RESERVOIR          PA0002053595
MILLION DOLLAR BILL   WHITNEY HOUSTON          RESERVOIR          PA0001738163
MISSISSIPPI GIRL      FAITH HILL               RESERVOIR          PA0001290856
MONSTER MASH          BOBBY "BORIS"            RESERVOIR          RE0000474679,
                      PICKETT                                     EU0000737324
MORNING AFTER         TIMBALAND, NELLY         RESERVOIR          PA0001935804
DARK (FEAT. NELLY     FURTADO, SOSHY
FURTADO & SOSHY)
MOTORSPORT            MIGOS, NICKI MINAJ,      RESERVOIR          PA0002122925
                      CARDI B
MOVE BITCH            I-20, MYSTIKAL,          RESERVOIR          PA0001678837,
                      LUDACRIS,                                   PA0001100331
                      DISTURBING THA
                      PEACE
MOVE IT LIKE THIS     BAHA MEN                 RESERVOIR          PA0001072898,
                                                                  PA0001132746
MY FAVORITE           SHERYL CROW              RESERVOIR          PA0002002824,
MISTAKE                                                           PA0000919779
MY IMMORTAL           EVANESCENCE              RESERVOIR          PA0001152551
NARCOS                MIGOS                    RESERVOIR          PA0002122839
NIGHT RIDERS          TRAVIS SCOTT, 2          RESERVOIR          PA0002019732
                      CHAINZ, MAD COBRA,
                      PUSHA T, MAJOR
                      LAZER


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      Song Title                Artist          Publisher Plaintiff    PA Number
NIGHTSHIFT               COMMODORES                RESERVOIR          PA0000266006
NO MORE TEARS            BARBRA STREISAND,         RESERVOIR          PAu000144979
(ENOUGH IS ENOUGH)       DONNA SUMMER
NO PROBLEM (FEAT.        LIL WAYNE, CHANCE         RESERVOIR          PA0002072831
LIL WAYNE & 2            THE RAPPER, 2
CHAINZ)                  CHAINZ
NOT LETTING GO           JESS GLYNNE, TINIE        RESERVOIR          PA0002136328
(FEAT. JESS GLYNNE)      TEMPAH
ONE LAST BREATH -        CREED                     RESERVOIR          PA0001118315
RADIO VERSION
ONLY U - ALBUM           ASHANTI                   RESERVOIR          PA0001161911
VERSION (NO INTRO)
PAPA DON’T PREACH        MADONNA                   RESERVOIR          PAu000851488
PARALLEL LINES           HAPPY SOMETIMES,          RESERVOIR          PA0002143588
                         DVBBS, CMC$
PARALYZER                FINGER ELEVEN             RESERVOIR          PA0001372683
PASILDA                  AFRO MEDUSA               RESERVOIR          PA0001064857
PATEK WATER              OFFSET, FUTURE,           RESERVOIR          PAu003910433
                         YOUNG THUG
PICKUP MAN               JOE DIFFIE                RESERVOIR          PA0000724779
PICTURE (FEAT.           KID ROCK, SHERYL          RESERVOIR          PA0001114108
SHERYL CROW)             CROW
PONY                     GINUWINE                  RESERVOIR          PA0000839501
PRESIDENTIAL             YOUNGBLOODZ               RESERVOIR          PA0001286203
PROP ME UP BESIDE        JOE DIFFIE                RESERVOIR          PA0000613096
THE JUKEBOX (IF I DIE)
PROUD                    OFFSET, YG, 2 CHAINZ      RESERVOIR          PA0002133068
PUT IT ON ME             VITA, VITA, JA RULE,      RESERVOIR          PA0001015460
                         LIL’ MO
RAGTIME INTERLUDE /      MISSY ELLIOTT             RESERVOIR          PA0001285859
I’M REALLY HOT
READY OR NOT             FUGEES                    RESERVOIR          PA0000844694
REDNECK WOMAN            GRETCHEN WILSON           RESERVOIR          PA0001224618
RIC FLAIR DRIP (&        OFFSET, METRO             RESERVOIR          PA0002106881,
METRO BOOMIN)            BOOMIN                                       PA0002109055
RISE ABOVE THIS          SEETHER                   RESERVOIR          PA0001962803
ROC THE MIC - ALBUM      BEANIE SIGEL,             RESERVOIR          PA0001251488
VERSION (EDITED)         FREEWAY
ROCKABYE (FEAT.          ANNE-MARIE, CLEAN         RESERVOIR          PA0002075620
SEAN PAUL & ANNE-        BANDIT, SEAN PAUL
MARIE)
ROCKSTAR                 21 SAVAGE, POST           RESERVOIR          PA0002151780
                         MALONE




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      Song Title               Artist        Publisher Plaintiff    PA Number
RUN IT!                JUELZ SANTANA,           RESERVOIR          PA0001286202
                       CHRIS BROWN
SACRIFICES             DRAKE, 2 CHAINZ,         RESERVOIR          PA0002092670
                       YOUNG THUG
SALT SHAKER            YING YANG TWINS,         RESERVOIR          PA0001158470
                       LIL JON & THE EAST
                       SIDE BOYZ
SATISFIED (FEAT.       SHOWTEK, BLINDERS,       RESERVOIR          PA0002000258
VASSY) - BLINDERS      VASSY
REMIX
SATURDAY SUN           VANCE JOY                RESERVOIR          PA0002129907
SAUCE                  JUSTIN TIMBERLAKE        RESERVOIR          PA0002130638
SAVE A HORSE (RIDE A   BIG & RICH               RESERVOIR          PA0001227159
COWBOY)
SAY SOMETHING        JUSTIN TIMBERLAKE,         RESERVOIR          PA0002105826,
                     CHRIS STAPLETON                               PA0002130605
SECRETS - RADIO EDIT TIëSTO, KSHMR,             RESERVOIR          PA0002005875
                     VASSY
SELF CARE            MAC MILLER                 RESERVOIR          PA0002151346
SHE’S GOT IT ALL     KENNY CHESNEY              RESERVOIR          PA0000886673
SHORTY WANNA RIDE - YOUNG BUCK                  RESERVOIR          PA0001271623
ALBUM VERSION
(EDITED)
SHUTTERBUGG          CUTTY, BIG BOI             RESERVOIR          PA0001740490
SIDESHOW             BLUE MAGIC                 RESERVOIR          RE0000856665,
                                                                   EP0000333161
SIT STILL, LOOK        DAYA                     RESERVOIR          PA0002070970
PRETTY
SLIPPERY (FEAT.        MIGOS, GUCCI MANE        RESERVOIR          PA0002073628
GUCCI MANE)
SNAP YO FINGERS        LIL JON,                 RESERVOIR          PA0001339272
                       YOUNGBLOODZ, E-40,
                       SEAN PAUL
SOAK UP THE SUN        SHERYL CROW              RESERVOIR          PA0001087054
SOCK IT 2 ME (FEAT.    DA BRAT, MISSY           RESERVOIR          PA0000875578
DA BRAT)               ELLIOTT
STILL D.R.E.           SNOOP DOGG, DR.          RESERVOIR          PA0001012565
                       DRE
STIR FRY               MIGOS                    RESERVOIR          PA0002122824
STRONG ENOUGH          SHERYL CROW              RESERVOIR          PA0000669879,
                                                                   PA0000664136
SUNSHINE AND           FAITH HILL               RESERVOIR          PA0001290858
SUMMERTIME
SUPASTARS              MIGOS                    RESERVOIR          PA0002108962



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      Song Title               Artist         Publisher Plaintiff    PA Number
SYMPHONY (FEAT.         ZARA LARSSON,            RESERVOIR          PA0002110317
ZARA LARSSON)           CLEAN BANDIT
TAKE ME HOME,           JOHN DENVER              RESERVOIR          RE0000653070,
COUNTRY ROADS                                                       EU0000238954
TALK DIRTY (FEAT. 2     JASON DERULO, 2          RESERVOIR          PA0002112574
CHAINZ)                 CHAINZ
TELL ME (FEAT.          CHRISTINA                RESERVOIR          PA0001166188
CHRISTINA AGUILERA)     AGUILERA, DIDDY
TELLURIDE               TIM MCGRAW, FAITH        RESERVOIR          PA0001058591
                        HILL
THANK GOD I’M A         JOHN DENVER              RESERVOIR          PA0000036945
COUNTRY BOY
THE HALF                JEREMIH, DJ SNAKE,       RESERVOIR          PA0002076792
                        YOUNG THUG, SWIZZ
                        BEATZ
THIS IS AMERICA         CHILDISH GAMBINO         RESERVOIR          PA0002147052
THIS IS WHY IM HOT -    MIMS                     RESERVOIR          PA0001597357
BLACKOUT REMIX
THIS IS WHY I’M HOT -   MIMS, PURPLE             RESERVOIR          PA0001334016
REMIX                   POPCORN
THROW SUM MO            RAE SREMMURD,            RESERVOIR          PA0002017431
                        NICKI MINAJ, YOUNG
                        THUG
TOO HOTTY               MIGOS, QUALITY           RESERVOIR          PAu003910484
                        CONTROL
TOUCH THE SKY           KANYE WEST, LUPE         RESERVOIR          PA0001162460
                        FIASCO
U AND DAT (FEAT. T.     T-PAIN, KANDI GIRL,      RESERVOIR          PA0001342045
PAIN & KANDI GIRL)      E-40
U DA REALEST            2 CHAINZ                 RESERVOIR          PA0001869957
U MAKE ME WANNA         JADAKISS, MARIAH         RESERVOIR          PA0001159529
                        CAREY
VALET (FEAT. FETTY      ERIC BELLINGER, 2        RESERVOIR          PA0002048493
WAP AND 2 CHAINZ)       CHAINZ, FETTY WAP
WANNA GET TO KNOW       G-UNIT, JOE              RESERVOIR          PA0001204730
YOU
WATCH OUT               CHRIS CORNELL            RESERVOIR          PA0001856565
WE OWN IT (FAST &       2 CHAINZ, WIZ            RESERVOIR          PA0001893078
FURIOUS)                KHALIFA
WHAT ABOUT NOW          DAUGHTRY                 RESERVOIR          PA0001166336
WHAT U GON’ DO          LIL JON & THE EAST       RESERVOIR          PA0001256554
(FEAT. LIL SCRAPPY)     SIDE BOYZ, LIL
                        SCRAPPY
WHAT WAS I THINKIN’     DIERKS BENTLEY           RESERVOIR          PA0001245475
WHAT’S THIS LIFE FOR    CREED                    RESERVOIR          PA0000966909


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        Song Title            Artist          Publisher Plaintiff    PA Number
WHEN THE SUN GOES      KENNY CHESNEY,            RESERVOIR          PA0001213501
DOWN                   UNCLE KRACKER
WHEN WORLDS            POWERMAN 5000             RESERVOIR          PA0000966206
COLLIDE
WHITE FLAG             BISHOP BRIGGS             RESERVOIR          PA0002135804
WHITE SAND             BIG SEAN, TRAVIS          RESERVOIR          PA0002127847
                       SCOTT, TY DOLLA
                       $IGN, MIGOS
WHO I AM               JESSICA ANDREWS           RESERVOIR          PA0001070474
WOLVES                 SELENA GOMEZ,             RESERVOIR          PA0002095349
                       MARSHMELLO
WORK FROM HOME         TY DOLLA $IGN,            RESERVOIR          PA0002071726
                       FIFTH HARMONY
YEAH!                  USHER, LIL JON,           RESERVOIR          PA0001241917
                       LUDACRIS
YOU DON’T WANT         MEEK MILL,                RESERVOIR          PA0001996573,
THESE PROBLEMS         TIMBALAND, BIG                               PA0002071617
                       SEAN, ACE HOOD,
                       RICK ROSS, DJ
                       KHALED, FRENCH
                       MONTANA, 2 CHAINZ
YOU WON’T BE           BILLY RAY CYRUS           RESERVOIR          PA0001111200
LONELY NOW
YOUNGBLOOD             5 SECONDS OF              RESERVOIR          PA0002122817
                       SUMMER
A WHITER SHADE OF      PROCOL HARUM                  TRO            RE0000699411
PALE
BLACK BETTY - EDIT     SPIDERBAIT                    TRO            RE0000529209
DREAM A LITTLE         ELLA FITZGERALD,              TRO            RE205246
DREAM OF ME            LOUIS ARMSTRONG
FEELING GOOD           MESHELL                       TRO            RE0000579762
                       NDEGEOCELLO
FLY ME TO THE MOON     COUNT BASIE, FRANK            TRO            RE0000120979
(IN OTHER WORDS)       SINATRA
GET IT ON (BANG A      THE POWER STATION             TRO            RE0000807726
GONG) - 2005
REMASTERED VERSION
HELL OF A LIFE         KANYE WEST                    TRO            PAu003676993
HOW I FEEL             FLO RIDA                      TRO            PA0001914974
IRON MAN               BLACK SABBATH                 TRO            RE0000782590
MY GENERATION -        THE WHO                       TRO            RE0000634708
ORIGINAL MONO
VERSION
PARANOID -             BLACK SABBATH                 TRO            RE0000782363
REMASTERED VERSION



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      Song Title              Artist          Publisher Plaintiff    PA Number
SABBATH BLOODY         BLACK SABBATH                 TRO            EU-456870
SABBATH -
REMASTERED VERSION
THE WIZARD -           BLACK SABBATH                 TRO            RE0000782349
REMASTERED VERSION
THIS LAND IS YOUR      SHARON JONES & THE            TRO            RE0000201665
LAND                   DAP-KINGS
US AND THEM            PINK FLOYD                   TRO             RE0000844068
21                     HUNTER HAYES           ROUND HILL MUSIC      PA0002033803
ABSOLUTELY (STORY      NINE DAYS                ROUND HILL          PA0001875499
OF A GIRL) RADIO MIX
ALL NIGHTER            DAN + SHAY               ROUND HILL          PA0001962165
ALL NIGHTER            DAN + SHAY               ROUND HILL          PA0001962165
ALL OVER THE ROAD      EASTON CORBIN            ROUND HILL          PA0001868684
AMAZED                 LONESTAR                 ROUND HILL          PA0000985472,
                                                                    PA0000965043
AMERICAN COUNTRY       JAKE OWEN                ROUND HILL          PA0002068987
LOVE SONG
AMERICAN KIDS          KENNY CHESNEY            ROUND HILL          PA0001945777
ANYTHING GOES          FLORIDA GEORGIA          ROUND HILL          PA0001997590
                       LINE
AT THE RIVER           GROOVE ARMADA            ROUND HILL          PA0001287908
BEACHIN’               JAKE OWEN                ROUND HILL          PA0001898832
BEFORE HE CHEATS       CARRIE UNDERWOOD         ROUND HILL          PA0001346125
BELIEVER               AMERICAN AUTHORS         ROUND HILL          PA0001898746
BEST DAY OF MY LIFE    AMERICAN AUTHORS         ROUND HILL          PA0001898750
BIG TEN INCH RECORD    AEROSMITH                ROUND HILL          RE0000895906,
                                                                    EP0000348618
BILLIONAIRE (FEAT.     TRAVIE MCCOY,            ROUND HILL          PA0001697965
BRUNO MARS)            BRUNO MARS
BLUE ON BLACK          FIVE FINGER DEATH        ROUND HILL          PA0000740770
                       PUNCH
BORN TO LOVE YOU       LANCO                    ROUND HILL          PA0002132858
BOYS ‘ROUND HERE       PISTOL ANNIES,           ROUND HILL          PA0001837383
(FEAT. PISTOL ANNIES   BLAKE SHELTON
& FRIENDS)
CALL ME THE BREEZE     LYNYRD SKYNYRD           ROUND HILL          RE0000663402,
                                                                    EP0000293185
CHANTILLY LACE         JERRY LEE LEWIS          ROUND HILL          RE0000287667,
                                                                    EU543978
CHERRY PIE             WARRANT                  ROUND HILL          PA0000510151
CLUB CAN’T HANDLE      DAVID GUETTA, FLO        ROUND HILL          PA0001739599
ME (FEAT. DAVID        RIDA
GUETTA)



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     Song Title                Artist          Publisher Plaintiff    PA Number
COLLIDE                 HOWIE DAY                ROUND HILL          PA0002150979
COME OUT AND PLAY       THE OFFSPRING            ROUND HILL          PA0000861551
CONFESSION              FLORIDA GEORGIA          ROUND HILL          PA0001997588
                        LINE
CRUISE                  FLORIDA GEORGIA          ROUND HILL          PA0001803624,
                        LINE                                         PA0001913754,
                                                                     PA0002026775
CRUISE REMIX            FLORIDA GEORGIA          ROUND HILL          PA0001957224
                        LINE, NELLY
DIRT ON MY BOOTS        JON PARDI                ROUND HILL          PA0002021844
DO YOU BELIEVE IN       THE LOVIN’               ROUND HILL          RE0000626763,
MAGIC?                  SPOONFUL                                     EP0000231384
DON’T IT                BILLY CURRINGTON         ROUND HILL          PA0002004646
DON’T WASTE THE         LEVI HUMMON              ROUND HILL          PA0002115736
NIGHT
DRINKING CLASS          LEE BRICE                ROUND HILL          PA0001977911
DRUNK ON A PLANE        DIERKS BENTLEY           ROUND HILL          PA0001903006
EVERY DAY I HAVE        B.B. KING                ROUND HILL          RE0000053119,
THE BLUES                                                            EU0000289430
EVERYBODY PLAYS         THE MAIN                 ROUND HILL          RE0000801034,
THE FOOL                INGREDIENT                                   EU0000293220
EXTRAORDINARY           PRINCE ROYCE             ROUND HILL          PA0001973189
FIX A DRINK             CHRIS JANSON             ROUND HILL          PA0002105827,
                                                                     PA0002130901
FLY                     SUGAR RAY                ROUND HILL          PA0000871157
FOR A LITTLE WHILE      TIM MCGRAW               ROUND HILL          PA0000863599
FOR HER                 CHRIS LANE               ROUND HILL          PA0002007792
FUCK YOU                CEELO GREEN              ROUND HILL          PA0001730782
GET YOUR SHINE ON       FLORIDA GEORGIA          ROUND HILL          PA0001803623
                        LINE
GO BIG OR GO HOME       AMERICAN AUTHORS         ROUND HILL          PA0002115166
GONE AWAY               THE OFFSPRING            ROUND HILL          PA0000822414
GONNA B GOOD            KEITH URBAN              ROUND HILL          PA0001899887
GOOD GOOD               FLORIDA GEORGIA          ROUND HILL          PA0001997595
                        LINE
GOOD LOVIN’             THE OLYMPICS             ROUND HILL          RE0000629086,
                                                                     EP0000203018
GOOD LOVIN’ SINGLE      THE YOUNG RASCALS        ROUND HILL          EU866364,
VERSION                                                              EU984457,
                                                                     EP203018
GRENADE                 BRUNO MARS               ROUND HILL          PA0001733322
HAIR OF THE DOG         NAZARETH                 ROUND HILL          PA0000498820
HAPPENS LIKE THAT       GRANGER SMITH            ROUND HILL          PA0002079927



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      Song Title             Artist         Publisher Plaintiff    PA Number
HAPPY TOGETHER         THE TURTLES            ROUND HILL          RE0000658136,
                                                                  EU0000961800,
                                                                  EP0000231836
HELL YEAH              MONTGOMERY             ROUND HILL          PA0001206551
                       GENTRY
HERE’S TO THE GOOD     FLORIDA GEORGIA        ROUND HILL          PA0001838484
TIMES                  LINE
HIGH ENOUGH            DAMN YANKEES           ROUND HILL          PA0000476678
HIT ME WITH YOUR       PAT BENATAR            ROUND HILL          PAu000139243
BEST SHOT
HOLY DIVER             KILLSWITCH ENGAGE      ROUND HILL          PA0000179870
HOOKED ON IT           LUKE BRYAN             ROUND HILL          PA0002124885
I COULD USE A LOVE     MAREN MORRIS           ROUND HILL          PA0002082629,
SONG                                                              PA0002083574
I GOT YOU (I FEEL      JAMES BROWN & THE      ROUND HILL          RE0000471186,
GOOD)                  FAMOUS FLAMES                              EP0000161150,
                                                                  RE0000649142,
                                                                  EP0000213142
I LOVE THIS LIFE       LOCASH                 ROUND HILL          PA0002002565
I WANT YOUR (HANDS     SINEAD O’CONNOR        ROUND HILL          PA0000356459
ON ME)
I’D DO ANYTHING FOR    MEAT LOAF              ROUND HILL          PA0000677622
LOVE (BUT I WON’T DO
THAT) LONGER STILL
BUT NOT AS LONG AS
THE ALBUM VERSION
IF I AM                NINE DAYS              ROUND HILL          PA0001875499
IF I KNOW ME           MORGAN WALLEN          ROUND HILL          PA0002128998
I’LL FIND YOU          LECRAE, TORI KELLY     ROUND HILL          PA0002136150
I’LL NAME THE DOGS     BLAKE SHELTON          ROUND HILL          PA0002115792
I’M ALIVE              CELINE DION            ROUND HILL          PA0001102057,
                                                                  PA0001143341
I’M BORN TO RUN        AMERICAN AUTHORS       ROUND HILL          PA0002083894
IT GOES LIKE THIS      THOMAS RHETT           ROUND HILL          PA0001910646,
                                                                  PA0001882787
IT’Z JUST WHAT WE DO   FLORIDA GEORGIA        ROUND HILL          PA0001803611
                       LINE
JUST ANOTHER THING     MAREN MORRIS           ROUND HILL          PA0002082682,
                                                                  PA0002083576
JUST THE WAY YOU       BRUNO MARS             ROUND HILL          PA0001725672
ARE
JUST WHAT THE          TED NUGENT             ROUND HILL          EU672382
DOCTOR ORDERED
KICK THE DUST UP       LUKE BRYAN             ROUND HILL          PA0002059210



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     Song Title               Artist        Publisher Plaintiff    PA Number
LEADER OF THE PACK    THE SHANRGI-LAS         ROUND HILL          RE0000607399,
                                                                  EU0000848202
LEAVE IT              YES                     ROUND HILL          PA0000197320
LIFE CHANGES          THOMAS RHETT            ROUND HILL          PA0002130959
LIGHTS COME ON        JASON ALDEAN            ROUND HILL          PA0002027846
LIKE YOU AIN’T EVEN   FLORIDA GEORGIA         ROUND HILL          PA0001997596
GONE                  LINE
LIVE LIKE YOU WERE    TIM MCGRAW              ROUND HILL          PA0001241664
DYING
LONG COOL WOMAN       THE HOLLIES             ROUND HILL          RE0000825602,
(IN A BLACK DRESS)                                                EU0000349588
LOOKIN’ AT YOU        NORTHSTATE              ROUND HILL          PA0002115716
LOOKIN’ FOR THAT      TIM MCGRAW              ROUND HILL          PA0001893793
GIRL
LOVING YOU EASY       ZAC BROWN BAND          ROUND HILL          PA0001983582,
                                                                  PA0001985659
MAGNOLIA              J.J. CALE               ROUND HILL          RE0000663443,
                                                                  EP0000289527
MAY WE ALL            FLORIDA GEORGIA         ROUND HILL          PA0002076822
                      LINE, TIM MCGRAW
MEANT TO BE -         BEBE REXHA              ROUND HILL          PAu003910254
ACOUSTIC
MEANT TO BE (FEAT.    FLORIDA GEORGIA         ROUND HILL          PA0002087066
FLORIDA GEORGIA       LINE, BEBE REXHA
LINE)
MEIN HERR             CABARET ENSEMBLE        ROUND HILL          PAu001890151
                      (1998), ALAN
                      CUMMING, NATASHA
                      RICHARDSON
MIDDLE OF A MEMORY    COLE SWINDELL           ROUND HILL          PA0002034345
MISSING YOU           JOHN WAITE              ROUND HILL          PA0000264024
MY OLD FRIEND         TIM MCGRAW              ROUND HILL          PA0001241663
NEED YOU NOW          LADY ANTEBELLUM         ROUND HILL          PA0001692074
NOTHIN’ ON YOU        B.O.B, BRUNO MARS       ROUND HILL          PA0001731018
(FEAT. BRUNO MARS)
ONE DAY               MATISYAHU               ROUND HILL          PA0001861447
ONE WE WON’T          JASON ALDEAN            ROUND HILL          PA0002058964
FORGET
ORIGINAL PRANKSTER    THE OFFSPRING,          ROUND HILL          PA0001032312
                      REDMAN
OUT OF NOWHERE        LUKE BRYAN              ROUND HILL          PA0002124889
GIRL
OWNER OF A LONELY     YES                     ROUND HILL          PA0000226697
HEART



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      Song Title            Artist          Publisher Plaintiff    PA Number
PARADISE BY THE      MEAT LOAF                ROUND HILL          PA0000000614,
DASHBOARD LIGHT                                                   PA0000125856
PARTY LIKE YOU       THE CADILLAC             ROUND HILL          PA0002056734
                     THREE
PLAYING WITH FIRE    THOMAS RHETT,            ROUND HILL          PA0002021090
                     DANIELLE BRADBERY
PLEASE COME HOME     JON BON JOVI             ROUND HILL          RE0000384651,
FOR CHRISTMAS                                                     EP0000145182
PRIDE                AMERICAN AUTHORS         ROUND HILL          PA0002115163
QUEEN OF HEARTS      LAUREN ALAINA            ROUND HILL          PA0002074534
RITUAL (FEAT.        MARSHMELLO,              ROUND HILL          PA0002065257
WRABEL)              WRABEL
ROCKSTARS            KANE BROWN               ROUND HILL          PA0002056812,
                                                                  PA0002056813
ROUND HERE           FLORIDA GEORGIA          ROUND HILL          PA0001838485
                     LINE
RUDY, A MESSAGE TO   DANDY LIVINGSTONE        ROUND HILL          PA0000092134
YOU
RUNNIN’ OUTTA        RANDY HOUSER             ROUND HILL          PA0001859233
MOONLIGHT
SAVE THE BEST FOR    SANDRA BULLOCK           ROUND HILL          PA0000566107,
LAST                                                              PA0000541282
SEA OF LOVE          CAT POWER                ROUND HILL          RE0000334486,
                                                                  EP0000137454
SHE’S COUNTRY        JASON ALDEAN             ROUND HILL          PA0001670811
SIPPIN’ ON FIRE      FLORIDA GEORGIA          ROUND HILL          PA0001997571
                     LINE
SMALL TOWN BOY       DUSTIN LYNCH             ROUND HILL          PA0002140456
SOUND OF DA POLICE   KRSONE                   ROUND HILL          PA0000919598,
                                                                  PA0001038341
SOUTHERN GIRL        TIM MCGRAW               ROUND HILL          PA0001837380
STAY DOWNTOWN        COLE SWINDELL            ROUND HILL          PA0002023291
STORY TO TELL        DARIUS RUCKER            ROUND HILL          PA0002124920
STRANGLEHOLD         TED NUGENT               ROUND HILL          EU672382
SUMMER IN THE CITY   THE LOVIN’               ROUND HILL          RE0000669821,
REMASTERED           SPOONFUL                                     EP0000231387
SUMMER JAM (FEAT.    FLORIDA GEORGIA          ROUND HILL          PA0001818492
FLORIDA GEORGIA      LINE, JAKE OWEN
LINE)
SUN DAZE             FLORIDA GEORGIA          ROUND HILL          PA0001997579
                     LINE
SUNSHINE AND         FAITH HILL               ROUND HILL          PA0001290858
SUMMERTIME




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     Song Title              Artist         Publisher Plaintiff    PA Number
SURE BE COOL IF YOU    BLAKE SHELTON          ROUND HILL          PA0001837390
DID
THAT’S MY KIND OF      LUKE BRYAN             ROUND HILL          PA0001870880
NIGHT
THE KIDS AREN’T        THE OFFSPRING          ROUND HILL          PA0000929198
ALRIGHT
THE LAZY SONG          BRUNO MARS             ROUND HILL          PA0001742737
THINK A LITTLE LESS    MICHAEL RAY            ROUND HILL          PA0002096645
TIP IT BACK            FLORIDA GEORGIA        ROUND HILL          PA0001803613
                       LINE
TOTAL ECLIPSE OF THE   BONNIE TYLER           ROUND HILL          PA0000833824,
HEART                                                             PA0000182428
TRAIN KEPT A ROLLIN’   AEROSMITH              ROUND HILL          RE0000022898,
                                                                  EU0000257650
UNDER THE              THE DRIFTERS           ROUND HILL          RE0000586155,
BOARDWALK                                                         EP0000189833
VIDEO KILLED THE       THE BUGGLES            ROUND HILL          PA0000050684
RADIO STAR
WANGO TANGO            TED NUGENT             ROUND HILL          PA0000068041
WASTIN’ GAS            DALLAS SMITH           ROUND HILL          PA0002008093
WAY WAY BACK           LUKE BRYAN             ROUND HILL          PA0002007307
WE WERE US             KEITH URBAN,           ROUND HILL          PA0001878243
                       MIRANDA LAMBERT
WHAT A WONDERFUL       LOUIS ARMSTRONG        ROUND HILL          PA0001677594
WORLD SINGLE
VERSION
WHAT MAKES YOU         LUKE BRYAN             ROUND HILL          PA0002124888
COUNTRY
WHAT WE LIVE FOR       AMERICAN AUTHORS       ROUND HILL          PA0002115168
WHATEVER SHE’S GOT     DAVID NAIL             ROUND HILL          PA0001899755
WHERE I COME FROM      MONTGOMERY             ROUND HILL          PA0001800008
                       GENTRY
WORRY ‘BOUT            KEITH URBAN            ROUND HILL          PA0002022274
NOTHIN’
YOU MAKE IT EASY       JASON ALDEAN           ROUND HILL          PA0002141528
YOU TOOK THE WORDS     MEAT LOAF              ROUND HILL          PA0000125856
RIGHT OUT OF MY
MOUTH (HOT SUMMER
NIGHT)
YOU WON’T BE           BILLY RAY CYRUS        ROUND HILL          PA0001111200
LONELY NOW
YOUNG                  KENNY CHESNEY          ROUND HILL          PA0001072885




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      Song Title                 Artist          Publisher Plaintiff    PA Number
ANTE UP (FEAT. BUSTA     M.O.P., REMI MARTIN,        ROYALTY           PA0001193869
RHYMES, TEFLON &         BUSTA RHYMES,
REMI MARTIN) - REMIX     TEFLON
B.U.D.D.Y.               MUSIQ SOULCHILD             ROYALTY           PA0001944492
BACKBEAT                 DAGNY                       ROYALTY           PA0002077991
BLAME IT                 T-PAIN, JAMIE FOXX          ROYALTY           PA0001761059,
                                                                       PA0001770185
BRUK IT DOWN             MR. VEGAS                   ROYALTY           PA0001985185
CAN’T LET YOU GO         FABOLOUS, MIKE              ROYALTY           PA0001131996
(FEAT. MIKE SHOREY &     SHOREY, LIL’ MO
LIL’ MO)
CLAPPERS (FEAT.          JUICY J, NICKI MINAJ,       ROYALTY           PA0001884518
NICKI MINAJ & JUICY J)   WALE
DINERO                   DJ KHALED,                  ROYALTY           PA0002127207
                         JENNIFER LOPEZ,
                         CARDI B
EVERY TEARDROP IS A      COLDPLAY                    ROYALTY           PA0001766995
WATERFALL
FREAKY WITH YOU -        WHITE N3RD                  ROYALTY           PA0002052511
RADIO EDIT
GET UP (RATTLE) -        BINGO PLAYERS, FAR          ROYALTY           PA0001836893
RADIO MIX                EAST MOVEMENT
GREEN LIGHT (FEAT.       ANDRE 3000, JOHN            ROYALTY           PA0001640754
ANDRE 3000)              LEGEND
HURTS LIKE HEAVEN        COLDPLAY                    ROYALTY           PA0001766982
I MADE IT (CASH          BIRDMAN, LIL                ROYALTY           PA0001731611
MONEY HEROES)            WAYNE, JAY SEAN,
                         KEVIN RUDOLF
KILL JILL (FEAT.         KILLER MIKE, JEEZY,         ROYALTY           PA0002114939
KILLER MIKE & JEEZY)     BIG BOI
LE DISKO                 SHINY TOY GUNS              ROYALTY           PA0001167273
LEAN WIT IT, ROCK        DEM FRANCHIZE               ROYALTY           PA0001163832
WIT IT                   BOYZ
LEGEND HAS IT            RUN THE JEWELS              ROYALTY           PA0002113097
LEGO HOUSE               ED SHEERAN                  ROYALTY           PA0001762047
LOLLIPOP - ALBUM         LIL WAYNE, STATIC           ROYALTY           PA0001619781
VERSION (EDITED)         MAJOR
LOVELY DAY               BILL WITHERS                ROYALTY           RE0000927826,
                                                                       EU0000817821
MRS. OFFICER             LIL WAYNE, KIDD             ROYALTY           PA0001787391
                         KIDD, BOBBY V.
NA NA                    TREY SONGZ                  ROYALTY           PA0001945848
NEED U BAD               JAZMINE SULLIVAN            ROYALTY           PA0001734091




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      Song Title              Artist        Publisher Plaintiff    PA Number
NEVER SCARED - CLUB    KILLER MIKE, T.I.,       ROYALTY           PA0001367055
MIX                    BONE CRUSHER
PARADISE               COLDPLAY                 ROYALTY           PA0001766985
PARTY TUN UP           MR. VEGAS                ROYALTY           PA0001985187
PRINCESS OF CHINA      COLDPLAY, RIHANNA        ROYALTY           PA0001767004
RAMALAMA (BANG         ROISIN MURPHY            ROYALTY           PA0001732931
BANG)
REVOFEV                KID CUDI                 ROYALTY           PA0001763066
RUBY BLUE              ROISIN MURPHY            ROYALTY           PAu002965728
SEE MY TEARS           MACHINE GUN KELLY        ROYALTY           PA0002013079
SET ADRIFT ON          P.M. DAWN                ROYALTY           PA0000572957
MEMORY BLISS (RE-
RECORDED)
SUNCHYME               MIXED BY DARIO G &       ROYALTY           PA0000925547
                       MARK TUCKER,
                       DARIO G
TAKE ME - RADIO EDIT   KYLER ENGLAND,           ROYALTY           PA0001981627
                       TIESTO
THA CROSSROADS         BONE THUGS-N-            ROYALTY           PA0000806597
                       HARMONY
THANK U, NEXT          ARIANA GRANDE            ROYALTY           PA0002154953
WATERFALLS             TLC                      ROYALTY           PAu002036683
YOU KNOW MY STEEZ      GANG STARR               ROYALTY           PA0000904710
YOU SPIN ME ROUND      TERA, PAPERCLAP          ROYALTY           PA0000855264
2 ON                   TINASHE,                  ULTRA            PA0001705227
                       SCHOOLBOY Q
2 STEP                 UNK                       ULTRA            PA0002059556
31 DAYS                FUTURE                    ULTRA            PA0002142631
ALMOST BACK (WITH      KASKADE, PHOEBE           ULTRA            PA0002127020
PHOEBE RYAN)           RYAN, LOKII
ALONE AGAIN            P REIGN, ALYSSA           ULTRA            PA0001745769
                       REID
BACK 2 U               WALK THE MOON,            ULTRA            PA0002044183
                       STEVE AOKI, BOEHM
BAILAR                 PITBULL, DEORRO,          ULTRA            PA0002032895
                       ELVIS CRESPO
BARTENDER              LADY ANTEBELLUM           ULTRA            PA0001932392
BEAUTIFUL MONSTER      NEYO                      ULTRA            PA0001740306
BEAUTIFUL PEOPLE       BENNY BENASSI,            ULTRA            PA0001752889
                       CHRIS BROWN
BIG ON BIG             MIGOS                     ULTRA            PA0002127843,
                                                                  PA0002074260
BLAME IT               TPAIN, JAMIE FOXX         ULTRA            PA0001761059,
                                                                  PA0001770185


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       Song Title              Artist        Publisher Plaintiff    PA Number
BLOOD ON THE           KANYE WEST                 ULTRA            PA0001855571
LEAVES
BONELESS               STEVE AOKI, CHRIS          ULTRA            PA0001862981
                       LAKE, TUJAMO
BREAK IT OFF           RIHANNA, SEAN PAUL         ULTRA            PA0001676830
BROWN PAPER BAG        MIGOS                      ULTRA            PA0002127784,
                                                                   PA0002074748
CAKE                   FLO RIDA, 99               ULTRA            PA0002144612
                       PERCENT
CALABRIA 2008          NATASJA, ENUR              ULTRA            PA0001668101
CHEERLEADER (FELIX     FELIX JAEHN, OMI           ULTRA            PA0002029573
JAEHN REMIX) RADIO
EDIT
CINEMA (EXTENDED)      GARY GO, BENNY             ULTRA            PA0001739853
                       BENASSI
CLEARLY                GRACE                      ULTRA            PA0002132785
                       VANDERWAAL
COLLIDE RADIO EDIT     AVICII, LEONA LEWIS        ULTRA            PA0001753315
COMMANDER              DAVID GUETTA,              ULTRA            PA0001750325
                       KELLY ROWLAND
DANCE THE PAIN         JOHN LEGEND,               ULTRA            PA0001852861
AWAY (EELKE KLEIJN     BENNY BENASSI
REMIX) [RADIO EDIT]
DELIRIOUS (BONELESS) KID INK, STEVE AOKI,         ULTRA            PA0001926657
                     CHRIS LAKE, TUJAMO
DISARM YOU (FEAT.    KASKADE, ILSEY               ULTRA            PA0002015915
ILSEY)
DON’T WAKE ME UP     CHRIS BROWN                  ULTRA            PA0001806232
DRIP (FEAT. MIGOS)   MIGOS, CARDI B               ULTRA            PA0002126752,
                                                                   PA0002142791
EARTHQUAKEY            STEVE AOKI, RIVERS         ULTRA            PA0001804664
PEOPLE (FEAT. RIVERS   CUOMO
CUOMO) DILLON
FRANCIS REMIX
EVERYBODY NEEDS A      SOFI TUKKER, BENNY         ULTRA            PA0002142634
KISS                   BENASSI
EYES                   MINDY GLEDHILL,            ULTRA            PA0001761981
                       KASKADE
FEEL (THE POWER OF     HEADHUNTERZ,               ULTRA            PA0002090622
NOW)                   STEVE AOKI
FIREWORK               KATY PERRY                 ULTRA            PA0001724730,
                                                                   PA0001716006
FURTHEST THING         DRAKE                      ULTRA            PA0001896161,
                                                                   PA0001901086




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      Song Title              Artist         Publisher Plaintiff    PA Number
GET YOUR MONEY UP     KEYSHIA COLE, KERI          ULTRA            PA0001881522,
                      HILSON, TRINA                                PA0002110157,
                                                                   PA0001670498
GIRL GONE WILD        MADONNA                     ULTRA            PA0001801991
HOMECOMING -          CHRIS MARTIN,               ULTRA            PA0001591394,
(EDITED)              KANYE WEST                                   PA0001935930
HOOD FIGGA            GORILLA ZOE                 ULTRA            PA0001748488
HOW BAD DO YOU        SEVYN STREETER              ULTRA            PA0001868818
WANT IT (OH YEAH)
I LIKE THAT           I20, HOUSTON, NATE          ULTRA            PA0001668093
                      DOGG, CHINGY
I REMEMBER            KASKADE,                    ULTRA            PA0001744494
                      DEADMAU5
I THINK I’M IN LOVE   JESSICA SIMPSON             ULTRA            PA0000986732,
WITH YOU                                                           PA0000997949
ICE CREAM PAINT JOB   DORROUGH MUSIC              ULTRA            PA0001741359
LESSONS IN LOVE       KASKADE, NEON               ULTRA            PA0001761973
                      TREES
LIGHTERS UP           FLOSSTRADAMUS,              ULTRA            PA0002013199
                      NGHTMRE
LIVE MY LIFE          JUSTIN BIEBER, FAR          ULTRA            PA0001778927
                      EAST MOVEMENT
LOCA PEOPLE RADIO     SAK NOEL                    ULTRA            PA0001744890
EDIT
LOVE DON’T LET ME     DAVID GUETTA                ULTRA            PA0001305648
GO
MADE TO LOVE          JOHN LEGEND                 ULTRA            PA0001887754,
                                                                   PA0001893355
MARVINS ROOM          DRAKE                       ULTRA            PA0001788784,
                                                                   PA0001793876
MFN RIGHT             2 CHAINZ                    ULTRA            PA0002053595
MORE COLORS           CHELSEA CUTLER,             ULTRA            PA0002090556
                      KIDSWASTE
MOSH PIT              FLOSSTRADAMUS,              ULTRA            PA0001881168
                      CASINO
MOVE BITCH            I20, MYSTIKAL,              ULTRA            PA0001678837,
                      LUDACRIS,                                    PA0001100331
                      DISTURBING THA
                      PEACE
MOVE FOR ME           KASKADE                     ULTRA            PA0001744493
MR. SAXOBEAT RADIO    ALEXANDRA STAN              ULTRA            PA0001736539
EDIT
MRS. OFFICER          LIL WAYNE, KIDD             ULTRA            PA0001787391
                      KIDD, BOBBY V.




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      Song Title            Artist           Publisher Plaintiff    PA Number
MY HITTA             JEEZY, YG, RICH              ULTRA            PA0001922331,
                     HOMIE QUAN                                    PA0001882080
NEW LEVEL            A$AP FERG, FUTURE            ULTRA            PA0002068624,
                                                                   PA0002077210
NO ROLE MODELZ       J. COLE                      ULTRA            PA0001975907
NONSTOP              DRAKE                        ULTRA            PA0002115668
ONLY GIRL (IN THE    RIHANNA                      ULTRA            PA0001726524
WORLD)
OUT OF CONTROL       RICHARD JUDGE,               ULTRA            PA0002092034
                     BENNY BENASSI
PARANOID             MR HUDSON, KANYE             ULTRA            PA0001625279,
                     WEST                                          PA0001902150
PRACTICE             DRAKE                        ULTRA            PA0001793658,
                                                                   PA0001793872
PRISON RIOT          FLOSSTRADAMUS, LIL           ULTRA            PA0001971369
                     JON, GTA
PUT YOUR HANDS ON    CROOKERS                     ULTRA            PA0001700656
ME
RAINING              SUNSUN, KASKADE,             ULTRA            PA0001744567
                     ADAM.K
RIC FLAIR DRIP (&    OFFSET, METRO                ULTRA            PA0002106881,
METRO BOOMIN)        BOOMIN                                        PA0002109055
ROUND MIDNIGHT       AMY WINEHOUSE                ULTRA            EP3433327
S&M                  RIHANNA                      ULTRA            PA0001728237
S&M REMIX            RIHANNA, BRITNEY             ULTRA            PA0001738513
                     SPEARS
SANCTUARY            WELSHLY ARMS                 ULTRA            PA0002123431
SAY YOU WON’T LET    JAMES ARTHUR                 ULTRA            PA0002065909
GO
SCOOBY DOO PA PA     DJ KASS, PITBULL             ULTRA            PA0002151535
(REMIX)
SHAKE BABY SHAKE     DROP THE LIME                ULTRA            PA0001759654
SLOW DOWN LOVE       LOUIS THE CHILD,             ULTRA            PA0002090523
                     CHELSEA CUTLER
SO FINE              SEAN PAUL                    ULTRA            PA0001665916
SOMETHING            KASKADE, ZIP ZIP             ULTRA            PA0001909779
SOMETHING CHAMPS     THROUGH THE
(FEAT. ZIP ZIP       NIGHT, MOGUAI
THROUGH THE NIGHT)
RADIO EDIT
SOUNDCLASH           FLOSSTRADAMUS,               ULTRA            PA0001999698
                     TROYBOI
SUPASTARS            MIGOS                        ULTRA            PA0002108962




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      Song Title                 Artist        Publisher Plaintiff    PA Number
SWEET HARMONY           LIQUID                      ULTRA            PA0002053596
(ORIGINAL MIX)
TERN IT UP              FLOSSTRADAMUS,              ULTRA            PA0002110014
                        DILLON FRANCIS
THE MORNING -           KID CUDI, D’BANJ, 2         ULTRA            PA0001913930,
ALBUM VERSION           CHAINZ, PUSHA T,                             PA0001867780,
(EDITED)                RAEKWON, CYHI THE                            PA0001824247
                        PRYNCE, COMMON
THE POWER OF NOW        HEADHUNTERZ,                ULTRA            PA0002014831
                        STEVE AOKI
THIS IS WHAT IT FEELS   TREVOR GUTHRIE,             ULTRA            PA0001841659
LIKE                    ARMIN VAN BUUREN
TIL IT’S GONE           KENNY CHESNEY               ULTRA            PA0001945770
TURN IT DOWN (WITH      REBECCA SCHEJA,             ULTRA            PA0001761988
REBECCA & FIONA)        KASKADE, FIONA
RADIO EDIT              FITZPATRICK
WALK IT OUT             UNK                         ULTRA            PA0002057728
WALK ON MINKS           FUTURE                      ULTRA            PA0002142617
WATER GUN (FEAT.        JOHN RYAN, BRASS            ULTRA            PA0002078144
JOHN RYAN) - RADIO      KNUCKLES
EDIT
WE BE BURNIN’           SEAN PAUL                   ULTRA            PA0001705227
(RECOGNIZE IT)
WE LIGHT FOREVER UP     FREDERICK, BENNY            ULTRA            PA0002090621
(FEAT. FREDERICK)       BENASSI, LUSH &
                        SIMON
WE OWN THE NIGHT        TIëSTO, LUCIANA,            ULTRA            PA0001791319
ORIGINAL MIX            WOLFGANG
                        GARTNER
WELCOME TO THE          KID CUDI, KANYE             ULTRA            PA0001778475
WORLD (FEAT. KANYE      WEST, T.I.
WEST & KID CUDI)
WHITE SAND              BIG SEAN, TRAVIS            ULTRA            PA0002127847
                        SCOTT, TY DOLLA
                        $IGN, MIGOS
WILD ONE                LUCKY ROSE, TEP NO          ULTRA            PA0002095641
WITHOUT LOVE            DIRTY AUDIO, MISS           ULTRA            PA0002019748
                        PALMER, DEORRO
YES INDEED              DRAKE, LIL BABY             ULTRA            PA0002142540




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